(1 of 37), Page 1 of 37       Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 1 of 37
                      Case 1:20-cv-07311-LAK Document 316 Filed 03/08/24 Page 1 of 3




            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
            -------------------------------------------------------------X
            E. JEAN CARROLL,                                                   Civil Action No.:
                                                                               1:20-cv-7311-LAK-JLC

                                      Plaintiff,

                    v.                                                         NOTICE OF APPEAL

            DONALD J. TRUMP, in his personal capacity,

                                       Defendant,
            -------------------------------------------------------------X

                    Notice is hereby given that the Defendant, Donald J. Trump, appeals to the United States

            Court of Appeals for the Second Circuit from the judgment entered in this action on February 8,

            2024 (Dkt. No. 285) (“Final Judgment”), attached hereto as Exhibit A, awarding Plaintiff

            compensatory and punitive damages totaling $83,300,000.00, and from all adverse orders, rulings,

            decrees, decisions, opinions, memoranda, conclusions, or findings preceding, leading to, merged

            in, or included within the Final Judgment, by the Honorable United States District Judge Lewis A.

            Kaplan.

             /s/ Alina Habba                                          /s/ D. John Sauer
             Alina Habba, Esq.                                        D. John Sauer*
             Michael T. Madaio, Esq.                                  William O. Scharf**
             HABBA MADAIO & ASSOCIATES LLP                            JAMES OTIS LAW GROUP, LLC
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                           -and-                                      (314) 562-0031
             112 West 34th Street, 17th & 18th Floors                 John.Sauer@james-otis.com
             New York, New York 10120
             Telephone: (908) 869-1188                                * Pro Hac Vice pending
             E-mail: ahabba@habbalaw.com                              ** Pro Hac Vice forthcoming

             Dated: New York, New York                                Attorneys for President Donald J. Trump
                    March 8, 2024

            To: All Counsel of Record
(2 of 37), Page 2 of 37       Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 2 of 37
                      Case 1:20-cv-07311-LAK Document 316 Filed 03/08/24 Page 2 of 3




                       EXHIBIT A
(3 of 37), Page 3 of 37       Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 3 of 37
                      Case 1:20-cv-07311-LAK Document 316285 Filed 03/08/24
                                                                     02/08/24 Page 31 of 3
                                                                                         1
(4 of 37), Page 4 of 37         Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 4 of 37

                                                                                            CLOSED,APPEAL,ECF
                                               U.S. District Court
                                  Southern District of New York (Foley Square)
                                CIVIL DOCKET FOR CASE #: 1:20−cv−07311−LAK

              Carroll v. Trump, et al.                                     Date Filed: 09/08/2020
              Assigned to: Judge Lewis A. Kaplan                           Date Terminated: 02/08/2024
              Related Case: 1:22−cv−10016−LAK                              Jury Demand: None
              Case in other court: State Court − Supreme, 160694−2019      Nature of Suit: 360 P.I.: Other
              Cause: 28:2679(d)(2) Federal Tort Claims Act − Employee of   Jurisdiction: U.S. Government Defendant
              U.S.A.
              Plaintiff
              E. Jean Carroll                                represented by Roberta Ann Kaplan
                                                                            Kaplan Hecker & Fink LLP
                                                                            350 Fifth Avenue
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(5 of 37), Page 5 of 37         Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 5 of 37

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              Movant
              United States of America                   represented by William Kerwin Lane , III
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              Defendant
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(6 of 37), Page 6 of 37         Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 6 of 37

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              Counter Claimant
              Donald J. Trump                            represented by Alina Habba
              in his personal capacity                                  (See above for address)
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                                                                        (See above for address)
                                                                        TERMINATED: 11/22/2021
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                                                                        Marc E. Kasowitz
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                                                                        LEAD ATTORNEY

                                                                        Paul J. Burgo
                                                                        (See above for address)
(7 of 37), Page 7 of 37         Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 7 of 37

                                                                               TERMINATED: 11/22/2021
                                                                               LEAD ATTORNEY

                                                                               Michael T Madaio
                                                                               (See above for address)
                                                                               ATTORNEY TO BE NOTICED


              V.
              Counter Defendant
              E. Jean Carroll                                 represented by Roberta Ann Kaplan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

                                                                               Joshua Adam Matz
                                                                               (See above for address)
                                                                               ATTORNEY TO BE NOTICED

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                                                                               ATTORNEY TO BE NOTICED

                                                                               Shawn Geovjian Crowley
                                                                               (See above for address)
                                                                               ATTORNEY TO BE NOTICED

                                                                               Trevor Morrison
                                                                               (See above for address)
                                                                               ATTORNEY TO BE NOTICED


         Date Filed   #   Docket Text
         09/08/2020   1 FILING ERROR − EXHIBITS NOT CLEARLY TITLED − NOTICE OF REMOVAL from
                        Supreme Court of the State of New York, County of New York. Case Number:
                        160694/2019..Document filed by UNITED STATES OF AMERICA. (Attachments: # 1 Exhibit A, #
                        2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D (Part 1), # 5 Exhibit D (Part 2), # 6 Exhibit D (Part 3), # 7
                        Certificate of Service).(Terrell, Stephen) Modified on 9/9/2020 (pne). (Entered: 09/08/2020)
         09/08/2020   2 FILING ERROR − PDF ERROR −CIVIL COVER SHEET filed..(Terrell, Stephen) Modified on
                        9/9/2020 (pne). (Entered: 09/08/2020)
         09/08/2020   3 MOTION to Substitute Party. Old Party: Donald J. Trump, New Party: United States of America .
                        Document filed by UNITED STATES OF AMERICA. (Attachments: # 1 Memorandum of Points and
                        Authorities, # 2 Affidavit, # 3 Exhibit A, # 4 Exhibit B, # 5 Certificate of Service).(Terrell, Stephen)
                        (Entered: 09/08/2020)
         09/08/2020   4 NOTICE OF APPEARANCE by Roberta Ann Kaplan on behalf of E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 09/08/2020)
         09/08/2020   5 NOTICE OF APPEARANCE by Joshua Adam Matz on behalf of E. Jean Carroll..(Matz, Joshua)
                        (Entered: 09/08/2020)
         09/09/2020       CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is assigned to Judge
                          Lewis A. Kaplan. Please download and review the Individual Practices of the assigned District Judge,
                          located at https://nysd.uscourts.gov/judges/district−judges. Attorneys are responsible for providing
                          courtesy copies to judges where their Individual Practices require such. Please download and review
                          the ECF Rules and Instructions, located at
                          https://nysd.uscourts.gov/rules/ecf−related−instructions..(pne) (Entered: 09/09/2020)
(8 of 37), Page 8 of 37         Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 8 of 37

         09/09/2020        Magistrate Judge James L. Cott is so designated. Pursuant to 28 U.S.C. Section 636(c) and Fed. R.
                           Civ. P. 73(b)(1) parties are notified that they may consent to proceed before a United States
                           Magistrate Judge. Parties who wish to consent may access the necessary form at the following link:
                           https://nysd.uscourts.gov/sites/default/files/2018−06/AO−3.pdf. (pne) (Entered: 09/09/2020)
         09/09/2020        Case Designated ECF. (pne) (Entered: 09/09/2020)
         09/09/2020        ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to attorney
                           Stephen Terrell. The party information for the following party/parties has been modified:
                           Donald J. Trump. The information for the party/parties has been modified for the following
                           reason/reasons: party name contained a typographical error; party text was omitted. (pne)
                           (Entered: 09/09/2020)
         09/09/2020        ***NOTICE TO ATTORNEY REGARDING DEFICIENT CIVIL COVER SHEET. Notice to
                           attorney Stephen Terrell to RE−FILE Document No. 1 Notice of Removal,. The filing is
                           deficient for the following reason(s): caption entered on civil cover sheet does not match
                           pleading caption. Re−file the document using the event type Civil Cover Sheet found under the
                           event list Other Documents and attach the corrected PDF. (pne) (Entered: 09/09/2020)
         09/09/2020        ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to Attorney
                           Stephen Terrell to RE−FILE Document No. 1 Notice of Removal,. The filing is deficient for the
                           following reason(s): As per Rule 13.3, each attachment to the pleading must be clearly titled in
                           the ECF entry so the subject of the exhibit is clear; do not put only "Exhibit A, B, etc.". Re−file
                           the pleading using the event type Notice of Removal found under the event list Complaints and
                           Other Initiating Documents − attach the PDF(s) − select the individually named filer/filers −
                           select the individually named party/parties the pleading is against. (pne) (Entered: 09/09/2020)
         09/09/2020    6 NOTICE OF REMOVAL from Supreme Court of the State of New York, County of New York. Case
                         Number: 160694/2019..Document filed by Donald J. Trump. (Attachments: # 1 Exhibit A − State
                         Court Complaint, # 2 Exhibit B − Westfall Act Certification, # 3 Exhibit C − State Court Docket
                         Index, # 4 Exhibit D (Part 1) − State Court Process, Pleadings, and Orders (less exhibits), # 5 Exhibit
                         D (Part 2) − State Court Process, Pleadings, and Orders (less exhibits), # 6 Exhibit D (Part 3) − State
                         Court Process, Pleadings, and Orders (less exhibits)).(Terrell, Stephen) (Entered: 09/09/2020)
         09/09/2020    7 CIVIL COVER SHEET filed..(Terrell, Stephen) (Entered: 09/09/2020)
         09/10/2020    8 LETTER MOTION for Conference re: Schedule addressed to Judge Lewis A. Kaplan from Roberta
                         A. Kaplan dated September 10, 2020. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                         09/10/2020)
         09/10/2020    9 ORDER granting in part and denying in part 8 Letter Motion for Conference. (Signed by Judge Lewis
                         A. Kaplan on 9/10/2020) (Kaplan, Lewis) (Entered: 09/10/2020)
         09/11/2020   10 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated September 11, 2020 re:
                         Court's Order of September 10, 2020 (ECF 9). Document filed by E. Jean Carroll..(Kaplan, Roberta)
                         (Entered: 09/11/2020)
         09/11/2020   11 MEMO ENDORSEMENT on re: 10 Letter filed by E. Jean Carroll. ENDORSEMENT: SO
                         ORDERED. (Responses due by 10/5/2020, Replies due by 10/19/2020.) (Signed by Judge Lewis A.
                         Kaplan on 9/11/2020) (jca) (Entered: 09/11/2020)
         09/14/2020   12 NOTICE of Lodging State Court Process, Pleadings, and Orders. Document filed by Donald J.
                         Trump. (Attachments: # 1 Process, Pleadings, and Orders Part 1, # 2 Process, Pleadings, and Orders
                         Part 2, # 3 Process, Pleadings, and Orders Part 3, # 4 Process, Pleadings, and Orders Part 4, # 5
                         Process, Pleadings, and Orders Part 5, # 6 Process, Pleadings, and Orders Part 6, # 7 Process,
                         Pleadings, and Orders Part 7, # 8 Process, Pleadings, and Orders Part 8, # 9 Process, Pleasings and
                         Orders Part 9, # 10 Process, Pleadings, and Orders Part 10, # 11 Process, Pleadings, and Orders Part
                         11, # 12 Process, Pleadings, and Orders Part 12).(Terrell, Stephen) (Entered: 09/14/2020)
         09/15/2020   13 ORDER: Accordingly, the United States, nor before September 18, 2020, shall file the entire state
                         court record as of the time of removal. Each separate paper shall be filed as a separate numbered
                         attachment, shall be clearly titled so hat the subject of the attachment is clear, and shall show the date
                         of the attachment. Attachments hall be listed in chronological order. SO ORDERED. (Signed by
                         Judge Lewis A. Kaplan on 9/14/2020) (jca) (Entered: 09/15/2020)
         09/15/2020   14 NOTICE of Lodging State Court Process, Pleadings, and Orders. Document filed by Donald J.
                         Trump. (Attachments: # 1 Summons (11/04/2019), # 2 Complaint (11/04/2019), # 3 Affirmation re
                         Identification of Related Case (11/08/2019), # 4 RJI Ex Parte Application (11/08/2019), # 5 Orioised
(9 of 37), Page 9 of 37         Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 9 of 37

                          Ex Oarte Order (11/08/2019), # 6 Affidavit in Supoport of Ex Parte Application (11/08/2019), # 7
                          Exhibit (Summons and Complaint) (11/08/2019), # 8 Exhibit (Trump Voter Registration )
                          (11/08/2019), # 9 Exhibit (Nov 4 Service Attempt) (11/08/2019), # 10 Exhibit (Nov 5 Service
                          Attempt) (11/08/2019), # 11 Exhibit (Nov 6 Service Attempt) (11/08/2019), # 12 Exhibit (Nov 6
                          Service Attempt) (11/08/2019), # 13 Exhibit (Nov 6 at White House) (11/08/2019), # 14 Exhibit
                          (E−mail) (11/08/2019, # 15 Ex Parte Order (11/13/2019), # 16 Notice of Appearance (11/13/2019), #
                          17 Affirmation of Service (11/13/2019), # 18 Notice of Appearance (11/13/2019), # 19 Notice of
                          Appearance (11/25/2019), # 20 Stipulation − Briefing Schedule (11/26/2019), # 21 Notice of
                          Appearance (11/26/2019), # 22 Letter/Correspondence − So Ordered (12/03/2019), # 23 Letter to
                          Judge (12/03/2019), # 24 Exhibit (Affirmation re Identification of Related Case) (12/03/2019), # 25
                          Letter Application to Administrative Judge (12/05/2019), # 26 Letter to Judge (12/05/2019), # 27
                          Order − Preliminary Conference (12/12/2019), # 28 Proposed OSC (01/03/2020), # 29 Affidavit in
                          Support (01/03/2020), # 30 Exhibit (Complaint) (01/03/2020), # 31 Exhibit (11−13−19 Ex Parte
                          order) (01/03/2020), # 32 Exhibit (Preliminary Conference Order) (01/03/2020), # 33 Memorandum
                          of Law (01/03/2020), # 34 Affirmation in Opposition to OSC (01/06/2020), # 35 OSC −
                          Decline/Withdrawn (01/08/2020), # 36 Decision + Order of Motion (01/10/2020), # 37 Notice of
                          Entry (01/13/2020), # 38 Stipulation (Briefing Schedule) (02/03/2020), # 39 Stipulation − So Ordered
                          (02/04/2020), # 40 Notice of Appearance (02/04/2020), # 41 Notice of Appearance (02/04/2020), #
                          42 Notice of Appearance (02/04/2020), # 43 Notice of Motion to Stay (02/04/2020), # 44 Affidavit in
                          Support of Motion (02/04/2020), # 45 Exhibit (RJI Submissions) (02/04/2020), # 46 Exhibit
                          (Preliminary Conference Order) (02/04/2020), # 47 Exhibit (Letter from Ct of Appeals) (02/04/2020),
                          # 48 Exhibit (So−Ordered Stipulation) (02/04/2020), # 49 Memorandum of Law (02/04/2020), # 50
                          Stipulation − Briefing Schedule (02/06/2020), # 51 Stipulation − So Ordered (02/10/2020), # 52
                          Stipulation − Adjournment of Motion (02/11/2020), # 53 Notice of Appearance (02/18/2020), # 54
                          Memorandum of Law in Opposition (02/18/2020), # 55 Affiavit in Opposition to Motion
                          (02/18/2020), # 56 Exhibit (First Notice of Submit to Physical Examination (02/18/2020) (PART 1),
                          # 57 Exhibit (First Notice of Submit to Physical Examination (02/18/2020) (PART 2), # 58 Exhibit
                          (Discovery Stipulation) (02/18/2020), # 59 Exhibit (Letter) (02/18/2020), # 60 Exhibit (Notice of
                          Motion) (02/18/2020), # 61 Exhibit (Order) (02/18/2020), # 62 Exhibit (Letter) (02/18/2020), # 63
                          Exhibit (Letter) (02/18/2020), # 64 Exhibit (Letter) (02/18/2020), # 65 Exhibit (Email) (02/18/2020),
                          # 66 Exhibit (Memorandum of Law) (02/18/2020), # 67 Affidavit in Reply (02/28/2020), # 68 Exhibit
                          (Article) (02/28/2020), # 69 Exhibit (Answer) (02/28/2020), # 70 Exhibit (Decision Granting Leave
                          to Appeal) (02/28/2020), # 71 Memorandum of Law in Reply (02/28/2020), # 72 Letter to Judge
                          (03/02/2020), # 73 Exhibit (Complaint in Trump for President v. NYT Co.) (03/02/2020), # 74 Letter
                          to Judge (03/06/2020), # 75 Exhibit (Complaint in Trump for President v. WP Co.) (03/06/2020), #
                          76 Exhibit (Complaint in Trump for President v. CNN) (03/06/2020), # 77 Letter to Judge
                          (03/10/2020), # 78 Letter to Judge (03/11/2020), # 79 Letter to Judge (03/11/2020), # 80 Court
                          Appearance Update (03/20/2020), # 81 Notice (04/14/2020), # 82 Notice of Appearance
                          (06/15/2020), # 83 Notice of Motion (06/15/2020), # 84 Affirmation in Support of Motion
                          (06/15/2020), # 85 Exhibit (Logo for The Apprentice) (06/15/2020), # 86 Exhibit (Entry information
                          page) (06/15/2020), # 87 Exhibit (Entry information page) (06/15/2020), # 88 Exhibit (FEC filing)
                          (06/15/2020), # 89 Exhibit (Report titled Expenditures) (06/15/2020), # 90 Exhibit (Certified
                          transcript of phone call) (06/15/2020), # 91 Exhibit (Florida Voter Registration Applications)
                          (06/15/2020), # 92 Exhibit (Declaration of Use Agreement) (06/15/2020), # 93 Memorandum of Law
                          in Support (06/15/2020), # 94 Letter to Judge (06/29/2020), # 95 Letter to Judge (06/29/2020), # 96
                          Exhibit (Correspondence Between Counsel) (06/29/2020), # 97 Decision + Order on Motion
                          (07/01/2020), # 98 Letter to Judge (07/10/2020), # 99 Exhibit (Trump v. Vance Opinion)
                          (07/10/2020), # 100 Letter to Judge (07/14/2020), # 101 Exhibit (Brief for Appellant in Zervos)
                          (07/14/2020), # 102 Letter to Judge (07/15/2020), # 103 Exhibit (Trump v. Mazars Opinion)
                          (07/16/2020), # 104 Letter to Judge (07/16/2020), # 105 Exhibit (Reply Brief of Appellant in Zervos)
                          (07/16/2020), # 106 Letter to Judge (07/17/2020), # 107 Exhibit (Submission to Court of Appeals)
                          (07/17/2020), # 108 Substitution of Attoeney (07/24/2020), # 109 Letter to Judge (07/28/2020), # 110
                          Exhibit (Letetr response to Court of Appeals) (07/28/2020), # 111 Decision + Order on Motion
                          (08/06/2020), # 112 Notice of Entry (08/08/2020)).(Terrell, Stephen) (Entered: 09/15/2020)
         10/05/2020   15 MOTION for Leave to File Amicus Brief IN SUPPORT OF PLAINTIFFS OPPOSITION TO THE
                         MOTION OF THE UNITED STATES TO SUBSTITUTE ITSELF AS THE DEFENDANT. Document
                         filed by Government Accountability Project. (Attachments: # 1 Exhibit Amicus Brief).(Kolar, John)
                         (Entered: 10/05/2020)
         10/05/2020   16 MEMORANDUM OF LAW in Opposition re: 3 MOTION to Substitute Party. Old Party: Donald J.
                         Trump, New Party: United States of America . . Document filed by E. Jean Carroll. (Attachments: # 1
                         Affidavit of Roberta A. Kaplan In Support of Plaintiff's Opposition to Defendant's Motion to
                         Substitute, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8
                         Exhibit G, # 9 Exhibit H).(Kaplan, Roberta) (Entered: 10/05/2020)
(10 of 37), Page 10 of 37      Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 10 of 37

         10/09/2020   17 LETTER MOTION for Leave to File Excess Pages re: Reply in support of Motion to Substitute
                         addressed to Judge Lewis A. Kaplan from Stephen Terrell dated 10/09/2020. Document filed by
                         Donald J. Trump..(Terrell, Stephen) (Entered: 10/09/2020)
         10/09/2020   18 ORDER SCHEDULING ORAL ARGUMENT with respect to 3 MOTION to Substitute Party. Old
                         Party: Donald J. Trump, New Party: United States of America. The Court will hear oral argument in
                         the Ceremonial Courtroom on the motion of the United States to substitute the United States for
                         President Donald J. Trump in his individual capacity on Wednesday, October 21, 2020 at 3:30 p.m.
                         Thirty minutes are allocated to each of the plaintiff and the United States. Counsel for each of the
                         plaintiff the defendant, and the United States each shall inform the deputy clerk on or before October
                         16, 202 of the number of attorneys and their assistants whom that party wishes to have present in the
                         courtroom. The undersigned prohibits the bringing of any Personal Electronic Device or General
                         Purpose Computing Device into courtrooms, witness rooms, robing rooms,jury rooms and associated
                         spaces, and judicial chambers used by him absent written permission granted by him as provided by
                         standing order of the Court. See In the Matter of Personal Electronic Devices and General Purpose
                         Computing Devices, Standing Order Ml0−468 (revised), 14−mc−0047 (filed Feb. 27, 2014). That
                         prohibition shall apply to the oral argument an any other proceedings in this case scheduled hereby
                         notwithstanding In re Coronavirus/COVID−19 pandemic, Standing Order Ml0−468 (revised),
                         20−mc−316 (filed Sept. 9, 2020). SO ORDERED. (Signed by Judge Lewis A. Kaplan on 10/9/2020)
                         (jca) (Entered: 10/09/2020)
         10/09/2020       Set/Reset Hearings: Oral Argument set for 10/21/2020 at 03:30 PM before Judge Lewis A. Kaplan.
                          (jca) (Entered: 10/09/2020)
         10/11/2020   19 ORDER granting 17 Letter Motion for Leave to File Excess Pages (HEREBY ORDERED by Judge
                         Lewis A. Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 10/11/2020)
         10/15/2020   20 ORDER: The argument of the pending motion on October 21 shall take place in Courtroom 21B
                         rather than the ceremonial courtroom. SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                         10/14/2020) (jca) (Entered: 10/15/2020)
         10/19/2020   21 REPLY MEMORANDUM OF LAW in Support re: 3 MOTION to Substitute Party. Old Party:
                         Donald J. Trump, New Party: United States of America . . Document filed by Donald J.
                         Trump..(Terrell, Stephen) (Entered: 10/19/2020)
         10/19/2020   22 MEMORANDUM OF LAW in Opposition re: 15 MOTION for Leave to File Amicus Brief IN
                         SUPPORT OF PLAINTIFFS OPPOSITION TO THE MOTION OF THE UNITED STATES TO
                         SUBSTITUTE ITSELF AS THE DEFENDANT. . Document filed by Donald J. Trump..(Terrell,
                         Stephen) (Entered: 10/19/2020)
         10/20/2020   23 NOTICE OF APPEARANCE by William Kerwin Lane, III on behalf of Donald J. Trump..(Lane,
                         William) (Entered: 10/20/2020)
         10/20/2020   24 ORDER granting 15 Motion for Leave to File Document (HEREBY ORDERED by Judge Lewis A.
                         Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 10/20/2020)
         10/21/2020   25 LETTER MOTION to Continue Hearing addressed to Judge Lewis A. Kaplan from Stephen R.
                         Terrell dated 10/21/2020. Document filed by Donald J. Trump..(Terrell, Stephen) (Entered:
                         10/21/2020)
         10/21/2020   26 ORDER with respect to 25 Letter Motion to Continue. Denied. The Court will hear the government's
                         argument (a) in person if offered by an attorney who is permitted entry to the courthouse under
                         existing rules and orders pertaining to COVID, or (b) by telephone from outside the courthouse if
                         offered by any attorney not eligible to enter the courthouse. Alternatively, the Court will take the
                         motion on submission without oral argument. The undersigned is not authorized to vary the existing
                         restrictions on entry into the courthouse. The government shall advice the Courtroom deputy as
                         promptly as possible what it intends to do.. (Signed by Judge Lewis A. Kaplan on 10/21/2020)
                         (Mohan, Andrew) (Entered: 10/21/2020)
         10/21/2020   27 CORRECTED ORDER denying 25 Letter Motion to Continue. Denied. The Court will hear the
                         government's argument (a) in person if offered by an attorney who is permitted entry to the
                         courthouse under existing rules and orders pertaining to COVID, or (b) by telephone from outside the
                         courthouse if offered by any attorney not eligible to enter the courthouse. Alternatively, the Court will
                         take the motion on submission without oral argument. The undersigned is not authorized to vary the
                         existing restrictions on entry into the courthouse. It notes further that, contrary to the government's
                         suggestion, it appears that Virginia was added to the list of Restricted States over a week ago. New
                         York State, Governor Cuomo Announces Three States Added to Travel Advisory (Oct. 13, 2020),
                         available at
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                          https://www.govenor.ny.gov/news/govenor−cuomo−announces−three−states−added−travel−advisory
                          (last visited Oct. 21, 2020). The government shall advise the courtroom deputy as promptly as
                          possible what it intends to do. So ordered. (Signed by Judge Lewis A. Kaplan on 10−21−2020)
                          (Mohan, Andrew) (Entered: 10/21/2020)
         10/21/2020       Minute Entry for proceedings held before Judge Lewis A. Kaplan: Motion Hearing held on
                          10/21/2020 re: 3 MOTION to Substitute Party. Old Party: Donald J. Trump, New Party: United States
                          of America . filed by Donald J. Trump. Argument on submission. (Court Reporter Andrew Walker)
                          (Mohan, Andrew) (Entered: 10/21/2020)
         10/26/2020   28 TRANSCRIPT of Proceedings re: CONFERENCE held on 10/21/2020 before Judge Lewis A.
                         Kaplan. Court Reporter/Transcriber: Andrew Walker, (212) 805−0300. Transcript may be viewed at
                         the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                         Release of Transcript Restriction. After that date it may be obtained through PACER. Redaction
                         Request due 11/16/2020. Redacted Transcript Deadline set for 11/27/2020. Release of Transcript
                         Restriction set for 1/24/2021..(McGuirk, Kelly) (Entered: 10/26/2020)
         10/26/2020   29 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                         of a CONFERENCE proceeding held on 10/21/20 has been filed by the court reporter/transcriber in
                         the above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice
                         of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                         remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                         Kelly) (Entered: 10/26/2020)
         10/26/2020   31 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                         of a CONFERENCE proceeding held on 9/17/20 has been filed by the court reporter/transcriber in the
                         above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                         Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                         remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                         Kelly) (Entered: 10/26/2020)
         10/26/2020       ***DELETED DOCUMENT. Deleted document number 30 TRANSCRIPT. The document was
                          incorrectly filed in this case as per email of 12/7/2020. (rro) Modified on 12/7/2020 (rro). (Entered:
                          12/07/2020)
         10/27/2020   32 Opinion and Order denying 3 Motion to Substitute Party. The President of the United States is not an
                         employee of the Government within the meaning of the relevant statutes. Even if he were such an
                         employee, President Trumps allegedly defamatory statements concerning Ms. Carroll would not have
                         been within the scope of his employment. Accordingly, the motion to substitute the United States in
                         place of President Trump [Dkt. 3] is denied.. (Signed by Judge Lewis A. Kaplan on 10/26/2020)
                         (Mohan, Andrew) (Entered: 10/27/2020)
         10/27/2020   33 RAJ PATEL'S (PRO SE)MOTION FOR PERMISSIVE INTERVENTION. Document filed by Raj
                         Patel.(sc) (Entered: 10/27/2020)
         10/27/2020   34 NOTICE OF PRO SE APPEARANCE. Document filed by Raj K. Patel, applicant to intervene in this
                         action. (sc) (Entered: 10/27/2020)
         10/27/2020   35 MEMORANDUM OF LAW in Opposition re: 33 MOTION to Intervene. . Document filed by E. Jean
                         Carroll..(Kaplan, Roberta) (Entered: 10/27/2020)
         10/28/2020   36 MEMO ENDORSEMENT denying 33 Motion to Intervene. ENDORSEMENT: Denied. See Doe v.
                         Trump, No. 19−9936 (LGS), Dkt. 272 (Mag 26, 2020). SO ORDERED. (Signed by Judge Lewis A.
                         Kaplan on 10/28/2020) (jca) (Entered: 10/28/2020)
         10/28/2020   37 MOTION FOR COURT−APPOINTED COUNSEL.Document filed by intervenor−plaintiff applicant
                         , Raj K. Patel.(sc) Modified on 10/28/2020 (sc). (Entered: 10/28/2020)
         11/05/2020   38 ORDER denying as moot 37 MOTION FOR COURT−APPOINTED COUNSEL. Denied as moot
                         and on true merits. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 11/5/2020) (jca) (Entered:
                         11/05/2020)
         11/09/2020   39 TRANSCRIPT of Proceedings re: CONFERENCE held on 10/21/2020 before Judge Lewis A.
                         Kaplan. Court Reporter/Transcriber: Andrew Walker, (212) 805−0300. Transcript may be viewed at
                         the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                         Release of Transcript Restriction. After that date it may be obtained through PACER. Redaction
                         Request due 11/30/2020. Redacted Transcript Deadline set for 12/10/2020. Release of Transcript
                         Restriction set for 2/8/2021..(McGuirk, Kelly) (Entered: 11/09/2020)
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         11/09/2020   40 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                         of a CONFERENCE proceeding held on 10/21/20 has been filed by the court reporter/transcriber in
                         the above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice
                         of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                         remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                         Kelly) (Entered: 11/09/2020)
         11/11/2020   41 Initial Conference Order: The initial conference by telephone is set for 12/11/2020 at 09:30 AM
                         before Judge Lewis A. Kaplan. Counsel for all parties are directed to confer regarding an agreed
                         scheduling order. If counsel are able to agree on a schedule and the agreed schedule calls for filing of
                         the pretrial order not more than six (6) months from the date of this order, counsel shall sign and file
                         within twenty−one (21) days from the date hereof a consent order in the form annexed for
                         consideration by the Court. If such a consent order is not filed within the time provided, a
                         teleconference will be held on 12/11/2020 at 9:30 AM. The teleconference can be reached by calling
                         888−363−4749 and using access code 7664205. (Signed by Judge Lewis A. Kaplan on 11/11/2020)
                         (Mohan, Andrew) (Entered: 11/11/2020)
         11/11/2020   42 ORDER RE SCHEDULING AND INITIAL PRETRIAL CONFERENCE: It is hereby, ORDERED
                         as follows: Counsel receiving this order shall promptly mail copies hereof to all other counsel of
                         record or, in the case of parties for which no appearance has been made, to such parties. Counsel for
                         all parties are directed to confer regarding an agreed scheduling order. If counsel are able to agree on
                         a schedule and the agreed schedule calls for filing of the pretrial order not more than six (6) months
                         from the date of this order, counsel shall sign and file within twenty−one (21) days from the date
                         hereof a consent order in the form annexed for consideration by the Court. If such a consent order is
                         not filed within the time provided, a teleconference will be held on 12/11/2020 at 9:30 AM. The
                         teleconference can be reached by calling 888−363−4749 and using access code 7664205.( Initial
                         Conference set for 12/11/2020 at 09:30 AM before Judge Lewis A. Kaplan.) (Signed by Judge Lewis
                         A. Kaplan on 11/11/20) (yv) (Entered: 11/12/2020)
         11/16/2020   43 CERTIFICATE OF SERVICE of the Court's Order dated November 11, 2020 (Doc. No. 41) served
                         on Donald J. Trump, in his personal capacity on November 13, 2020 and November 14, 2020.
                         Document filed by E. Jean Carroll..(Matz, Joshua) (Entered: 11/16/2020)
         11/20/2020   44 ORDER: This action was commenced against Donald J. Trump in his individual (not his official)
                         capacity in New York State court. By substitution for the original private counsel for Mr. Trump,
                         Mark E. Kasowitz, Christine A. Montenegro, and Paul J. Burgo of the firm of Kasowitz Benson
                         Torres LLP appeared on defendant's behalf on July 24, 2020. Dkt. 14−108. On September 8, 2020,
                         the United States of America − represented by Stephen Terrell and other attorneys at the Department
                         of Justice (the "DOJ") − removed the action to this Court and later moved to substitute the United
                         States as defendant in place of Mr. Trump. Dkt. 1. On October 27, 2020, I denied that motion. Dkt.
                         33. Section 1450 of the Judicial Code, 28 U.S.C. § 1450, provides in relevant part that "[a]ll
                         injunctions, orders, and other proceedings had in such action [i.e., any removed action] prior to its
                         removal shall remain in full force and effect until dissolved or modified by the district court."
                         Accordingly, by virtue of their appearance on behalf of Mr. Trump in the state court, Messrs.
                         Kasowitz and Burgo and Ms. Montenegro represent Mr. Trump in this removed action unless and
                         until relieved by this Court. Nevertheless, the docket sheet erroneously lists Mr. Terrell and another
                         attorney as counsel for defendant Trump. That is incorrect. They represent only the United States.
                         The Clerk shall correct the docket sheet to reflect that (1) Messrs. Terrell and his colleagues at the
                         DOJ represent only the United States of America and (2) Messrs. Kasowitz and Burgo and Ms.
                         Montenegro represent Mr. Trump. The Clerk shall mail copies of this order, all others entered by this
                         Court subsequent to removal, and the Court's opinion to counsel for Mr. Trump. Attorney Marc E.
                         Kasowitz, Christine A. Montenegro, Paul J. Burgo for Donald J. Trump added. United States of
                         America added. (Signed by Judge Lewis A. Kaplan on 11/18/2020) (tro) Transmission to Docket
                         Assistant Clerk for processing. (Entered: 11/20/2020)
         11/20/2020       Mailed a copy of 36 Order on Motion to Intervene, 27 Order on Motion to Continue, 20 Order, 38
                          Order on Application for the Court to Request Counsel, 26 Order on Motion to Continue, 41
                          Scheduling Order, Set Hearings, 32 Order on Motion to Substitute Party, 13 Order, 11 Memo
                          Endorsement, Set Deadlines, 42 Order for Initial Pretrial Conference, 19 Order on Motion for Leave
                          to File Excess Pages, 9 Order on Motion for Conference, 44 Order, Add and Terminate Attorneys,
                          Add and Terminate Parties, 24 Order on Motion for Leave to File Document, 18 Order on Motion to
                          Substitute Party, to Christine A. Montenegro, Marc E. Kasowitz, Paul J. Burgo at Kasowitz, Benson,
                          Torres LLP (NYC), 1633 Broadway, New York, NY 10019 Via UPS Tracking Number: 1Z E22 E53
                          37 1005 148 0.(dsh) (Entered: 11/20/2020)
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         11/25/2020   45 NOTICE OF INTERLOCUTORY APPEAL from 32 Order on Motion to Substitute Party,,.
                         Document filed by United States of America. Form C and Form D are due within 14 days to the Court
                         of Appeals, Second Circuit..(Terrell, Stephen) (Entered: 11/25/2020)
         11/25/2020   46 NOTICE OF INTERLOCUTORY APPEAL from 32 Order on Motion to Substitute Party,,.
                         Document filed by Donald J. Trump. Filing fee $ 505.00, receipt number ANYSDC−22753482. Form
                         C and Form D are due within 14 days to the Court of Appeals, Second Circuit. (Attachments: # 1
                         Exhibit A − Order Denying Motion to Substitute).(Kasowitz, Marc) (Entered: 11/25/2020)
         11/30/2020       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re: 45
                          Notice of Interlocutory Appeal..(nd) (Entered: 11/30/2020)
         11/30/2020       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files
                          for 45 Notice of Interlocutory Appeal filed by United States of America were transmitted to the U.S.
                          Court of Appeals..(nd) (Entered: 11/30/2020)
         11/30/2020       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re: 46
                          Notice of Interlocutory Appeal..(nd) (Entered: 11/30/2020)
         11/30/2020       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files
                          for 46 Notice of Interlocutory Appeal, filed by Donald J. Trump were transmitted to the U.S. Court of
                          Appeals..(nd) (Entered: 11/30/2020)
         12/10/2020   47 LETTER MOTION to Stay addressed to Judge Lewis A. Kaplan from Marc E. Kasowitz dated
                         December 10, 2020. Document filed by Donald J. Trump..(Kasowitz, Marc) (Entered: 12/10/2020)
         12/11/2020       Minute Entry for proceedings held before Judge Lewis A. Kaplan: Telephone Conference held on
                          12/11/2020. Plaintiff's opposition to defendants motion to stay is due 12/17/2020 and Defendant's
                          reply is due 12/21/2020. (Court Reporter Andrew Walker) (Mohan, Andrew) (Entered: 12/11/2020)
         12/14/2020   48 TRANSCRIPT of Proceedings re: CONFERENCE held on 12/11/2020 before Judge Lewis A.
                         Kaplan. Court Reporter/Transcriber: Andrew Walker, (212) 805−0300. Transcript may be viewed at
                         the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                         Release of Transcript Restriction. After that date it may be obtained through PACER. Redaction
                         Request due 1/4/2021. Redacted Transcript Deadline set for 1/14/2021. Release of Transcript
                         Restriction set for 3/15/2021..(McGuirk, Kelly) (Entered: 12/14/2020)
         12/14/2020   49 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                         of a CONFERENCE proceeding held on 12/11/20 has been filed by the court reporter/transcriber in
                         the above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice
                         of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                         remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                         Kelly) (Entered: 12/14/2020)
         12/17/2020   50 MEMORANDUM OF LAW in Opposition re: 47 LETTER MOTION to Stay addressed to Judge
                         Lewis A. Kaplan from Marc E. Kasowitz dated December 10, 2020. . Document filed by E. Jean
                         Carroll..(Kaplan, Roberta) (Entered: 12/17/2020)
         12/21/2020   51 LETTER REPLY to Response to Motion addressed to Judge Lewis A. Kaplan from Marc E.
                         Kasowitz dated December 21, 2020 re: 47 LETTER MOTION to Stay addressed to Judge Lewis A.
                         Kaplan from Marc E. Kasowitz dated December 10, 2020. . Document filed by Donald J. Trump.
                         (Attachments: # 1 Exhibit 1 − Mar. 9, 2007 LEXIS Decision, In re World Trade Ctr. Disaster Site
                         Litig. (2d Cir.)).(Kasowitz, Marc) (Entered: 12/21/2020)
         01/15/2021   52 MOTION for Joshua Matz to Withdraw as Attorney . Document filed by E. Jean Carroll.
                         (Attachments: # 1 Declaration of J. Matz in Support).(Matz, Joshua) (Entered: 01/15/2021)
         01/18/2021   53 MOTION for William Kerwin Lane III to Withdraw as Attorney . Document filed by United States of
                         America..(Lane, William) (Entered: 01/18/2021)
         01/18/2021   54 ORDER granting 52 Motion to Withdraw as Attorney. Attorney Joshua Adam Matz terminated
                         (Kaplan, Lewis) (Entered: 01/18/2021)
         01/18/2021   55 ORDER granting 53 Motion to Withdraw as Attorney.. (Signed by Judge Lewis A. Kaplan on
                         1/18/2021) (Kaplan, Lewis) (Entered: 01/18/2021)
         09/15/2021   56 ORDER denying without prejudice 47 Letter Motion to Stay re: 47 LETTER MOTION to Stay
                         addressed to Judge Lewis A. Kaplan from Marc E. Kasowitz dated December 10, 2020. (HEREBY
                         ORDERED by Judge Lewis A. Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 09/15/2021)
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         11/22/2021   57 PROPOSED ORDER FOR SUBSTITUTION OF ATTORNEY. Document filed by Donald J.
                         Trump..(Habba, Alina) (Entered: 11/22/2021)
         11/22/2021   58 CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY, The substitution of attorney is
                         hereby approved and SO ORDERED. (Attorney Alina Habba for Donald J. Trump added. Attorney
                         Christine A. Montenegro; Paul J. Burgo and Marc E. Kasowitz terminated.) (Signed by Judge Lewis
                         A. Kaplan on 11/22/21) (yv) (Entered: 11/22/2021)
         12/01/2021   59 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION to Amend/Correct Notice of
                         Defendant's Motion for Leave to Amend his Answer. Document filed by Donald J. Trump.
                         (Attachments: # 1 Affirmation of Alina Habba, Esq. with Exhibits, # 2 Memorandum of Law, # 3
                         Proposed Order).(Habba, Alina) Modified on 1/10/2022 (kj). (Entered: 12/01/2021)
         12/01/2021       ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT DOCKET ENTRY
                          ERROR. Notice to Attorney Alina Habba to RE−FILE Document 59 MOTION to
                          Amend/Correct Notice of Defendant's Motion for Leave to Amend his Answer.. ERROR(S):
                          Supporting Documents are filed separately, each receiving their own document #. (Supporting
                          Documents are found under the Event Type − Replies, Opposition and Supporting Documents;
                          Rule 56.1 Statement is found under Other Answers). Proposed Order(s) and/or Certificate of
                          Service(s) can be filed with the Motion.. (kj) (Entered: 01/10/2022)
         12/06/2021   60 NOTICE OF APPEARANCE by Joshua Adam Matz on behalf of E. Jean Carroll..(Matz, Joshua)
                         (Entered: 12/06/2021)
         12/15/2021   61 FILING ERROR − DEFICIENT DOCKET ENTRY − MEMORANDUM OF LAW in Opposition
                         re: 59 MOTION to Amend/Correct Notice of Defendant's Motion for Leave to Amend his Answer. .
                         Document filed by E. Jean Carroll..(Kaplan, Roberta) Modified on 1/10/2022 (kj). (Entered:
                         12/15/2021)
         12/15/2021       ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT DOCKET ENTRY
                          ERROR. Notice to Attorney Roberta Kaplan to RE−FILE Document 61 Memorandum of Law
                          in Opposition to Motion,. ERROR(S): Supporting and or Opposing/Response Document(s)
                          linked to a deficient entry.. (kj) (Entered: 01/10/2022)
         12/22/2021   62 FILING ERROR − DEFICIENT DOCKET ENTRY − REPLY MEMORANDUM OF LAW in
                         Support re: 59 MOTION to Amend/Correct Notice of Defendant's Motion for Leave to Amend his
                         Answer. . Document filed by Donald J. Trump..(Habba, Alina) Modified on 1/10/2022 (kj). (Entered:
                         12/22/2021)
         12/22/2021       ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT DOCKET ENTRY
                          ERROR. Notice to Attorney Alina Habba to RE−FILE Document 62 Reply Memorandum of
                          Law in Support of Motion,. ERROR(S): Supporting and or Opposing/Response Document(s)
                          linked to a deficient entry.. (kj) (Entered: 01/10/2022)
         01/11/2022   63 MOTION to Amend/Correct Defendant's Answer. Document filed by Donald J. Trump.
                         (Attachments: # 1 Affirmation of Alina Habba, Esq. with Exhibits, # 2 Text of Proposed
                         Order).(Habba, Alina) (Entered: 01/11/2022)
         01/11/2022   64 MEMORANDUM OF LAW in Support re: 63 MOTION to Amend/Correct Defendant's Answer. .
                         Document filed by Donald J. Trump..(Habba, Alina) (Entered: 01/11/2022)
         01/11/2022   65 MEMORANDUM OF LAW in Opposition re: 63 MOTION to Amend/Correct Defendant's Answer. .
                         Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 01/11/2022)
         01/28/2022   66 REPLY MEMORANDUM OF LAW in Support re: 63 MOTION to Amend/Correct Defendant's
                         Answer. . Document filed by Donald J. Trump..(Habba, Alina) (Entered: 01/28/2022)
         02/11/2022   67 ORDER, The Court will hear argument on defendant's motion for leave to file an amended answer on
                         February 17, 2022 at 4:00 p.m. SO ORDERED. ( Oral Argument set for 2/17/2022 at 04:00 PM
                         before Judge Lewis A. Kaplan.) (Signed by Judge Lewis A. Kaplan on 2/11/22) (yv) (Entered:
                         02/11/2022)
         02/11/2022       Dial in re Oral Argument set for 2/22/2022 at 04:00 PM in Courtroom 21B, 500 Pearl Street, New
                          York, NY 10007 before Judge Lewis A. Kaplan. Public seating in the gallery of courtroom 21B will
                          be limited due to Covid−19 social distancing requirements. However, the public and press may dial in
                          to listen to the oral argument as scheduled at 1−888−363−4749 and entering conference code
                          7664205#. Please be aware that Court rules prohibit listeners from recording or rebroadcasting the
                          hearing in whole or in part. (Mohan, Andrew) Modified on 2/14/2022 (Mohan, Andrew). (Entered:
                          02/11/2022)
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         02/14/2022   68 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba, Esq. dated 2/14/2022 re:
                         rescheduling oral arguments on Defendant's Motion to amend the answer. Document filed by Donald
                         J. Trump..(Habba, Alina) (Entered: 02/14/2022)
         02/14/2022   69 MEMO ENDORSEMENT On the 2/14/2022 letter of Ms. Alina Habba requesting an adjournment of
                         the 2/17/2022 oral argument date. Adjourned until 2/22/22 at 4:00 PM. (Signed by Judge Lewis A.
                         Kaplan on 2/14/2022) (Mohan, Andrew) (Entered: 02/14/2022)
         02/22/2022       Minute Entry for proceedings held before Judge Lewis A. Kaplan in courtroom 21B: Oral Argument
                          held on 2/22/2022 re: 63 MOTION to Amend/Correct Defendant's Answer. filed by Donald J. Trump.
                          Public dial−in line was active. Court's decision reserved. (Court Reporter Rebecca Forman) (Mohan,
                          Andrew) (Entered: 02/23/2022)
         02/24/2022   70 JOINT LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated February 24,
                         2022 re: response to the Court's request concerning previous stays. Document filed by E. Jean
                         Carroll..(Kaplan, Roberta) (Entered: 02/24/2022)
         02/24/2022   71 TRANSCRIPT of Proceedings re: CONFERENCE held on 2/22/2022 before Judge Lewis A. Kaplan.
                         Court Reporter/Transcriber: Rebecca Forman, (212) 805−0300. Transcript may be viewed at the court
                         public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release
                         of Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                         3/17/2022. Redacted Transcript Deadline set for 3/28/2022. Release of Transcript Restriction set for
                         5/25/2022..(Moya, Goretti) (Entered: 02/24/2022)
         02/24/2022   72 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                         of a CONFERENCE proceeding held on 2/22/22 has been filed by the court reporter/transcriber in the
                         above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                         Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                         remotely electronically available to the public without redaction after 90 calendar days....(Moya,
                         Goretti) (Entered: 02/24/2022)
         03/11/2022   73 MEMORANDUM OPINION re: 63 MOTION to Amend/Correct Defendant's Answer. filed by
                         Donald J. Trump. Defendant's motion, in his personal capacity, for leave to amend (Dkt. 63) is denied
                         on the ground that the proposed amendment would be futile. In the alternative, it is denied in the
                         exercise of discretion on the grounds that the defendant delayed unduly in seeking leave to amend,
                         that the motion for leave is made at least in part for a dilatory purpose and thus at least in part in bad
                         faith, and that granting the motion would prejudice the plaintiff unduly. SO ORDERED. (Signed by
                         Judge Lewis A. Kaplan on 3/10/22) (yv) (Entered: 03/11/2022)
         03/11/2022   74 ENDORSED LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated 3/10/22
                         re: notify the Court of the attached decision issued by a unanimous panel of the Appellate Division,
                         First Department this afternoon. ENDORSEMENT: The Appellate Division of the New York
                         Supreme Court yesterday held the 2020 amendment to N.Y. Civ. Rts. L. § 76−a has only prospective
                         effect. Gottwald v. Sebert, _ A.D. 3d _, Index No. 653118/2014 (1st Dep't filed Mar. 10, 2021). Its
                         logic applies equally to the all of the 2020 amendments to the anti−SLAPP law. In the absence of
                         compelling reasons to believe that the New York Court of Appeals would reach a different result, this
                         Court is obliged under Erie to follow it. E.g., Hicks on Behalf of Feiockv. Feiock, 485 U.S. 624,
                         629−30 & n.3 (1988) (quoting West v. Am. Tel. & Tel. Co., 311 U.S. 223, 237 (1940)); AEI Life
                         LLC v. Lincoln Benfit Life Co., 892 F.3d 126, 138−39 & n.15 (2d Cir. 2018) (quoting Pahuta v.
                         Massey−Ferguson, Inc., 170 F.3d 125, 134 (2d Cir. 1999); Pentech Int'l, Inc. v. Wall Street Clearing
                         Co., 983 F.2d 441, 445 (2d Cir.1993); Deeper Life Christian Fellowship, Inc. v. Sobol, 948 F.2d 79,
                         84 (2d Cir.1991). Nevertheless, contrary to plaintiff's suggestion, this does not moot the issues
                         addressed in the opinion dated March 10, 2021 (Dkt. 73), as N.Y. Civ. Rts. L. § 70−a applies not only
                         to the commencement of a covered action, but also to its continuation. SO ORDERED. (Signed by
                         Judge Lewis A. Kaplan on 3/11/22) (yv) (Entered: 03/11/2022)
         05/05/2022   75 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated May 5, 2022 re: Agreed
                         discovery schedule. Document filed by E. Jean Carroll. (Attachments: # 1 Text of Proposed Order /
                         [Proposed] Scheduling Order).(Kaplan, Roberta) (Entered: 05/05/2022)
         05/05/2022   76 SCHEDULING ORDER: It is hereby ORDERED as follows: 1. The parties shall serve any and all
                         written discovery requests on each other on or before May 27, 2022. 2. The parties shall substantially
                         complete their productions of written discovery and requests for inspection or examination on or
                         before August 3, 2022. 3. Depositions to take place between August 3, 2022, to October 19, 2022. 4.
                         The parties shall make any and all expert disclosures under Rule 26(a)(2) on or before September 16,
                         2022. 5. The parties shall substantially complete any and all fact discovery on or before October 19,
                         2022. 6. The parties shall complete any and all expert discovery on or before November 16, 2022. SO
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                          ORDERED. (Signed by Judge Lewis A. Kaplan on 5/4/2022) Deposition due by 10/19/2022. Fact
                          Discovery due by 10/19/2022. Expert Discovery due by 11/16/2022. Discovery due by 5/27/2022.
                          (ks) (Entered: 05/05/2022)
         07/19/2022   77 SUPPLEMENTAL SCHEDULING ORDER:The existing scheduling order (Dkt 76) is supplemented
                         as follows: 1. All discovery shall be completed on or before November 16, 2022. 2. Any summary
                         judgment motions and a joint pretrial order in the form attached as Annex A to the individual
                         practices of the undersigned (which are posted on the Court's web site) shall be filed on or before
                         December 1, 2022. 3. Absent prior disposition of the case by motion or otherwise, the trial will
                         commence on February 6, 2023 at 9:30 a.m. 4. The parties shall exchange premarked trial exhibits no
                         later than December 8, 2022. 5. Any motions in limine and oppositions thereto shall be filed no later
                         than December 8 and December 15, 2022, respectively. SO ORDERED. Motions due by 12/8/2022.
                         Responses due by 12/15/2022 Discovery due by 11/16/2022. Pretrial Order due by 12/1/2022. Ready
                         for Trial by 2/6/2023. (Signed by Judge Lewis A. Kaplan on 7/19/2022) (tg) (Entered: 07/19/2022)
         07/20/2022   78 LETTER MOTION for Conference addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan
                         dated July 20, 2022. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 07/20/2022)
         07/21/2022   79 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan, dated July 21, 2022 re:
                         Supplemental Scheduling Order (ECF 77) and Plaintiff's Letter Motion (ECF 78). Document filed by
                         E. Jean Carroll..(Kaplan, Roberta) (Entered: 07/21/2022)
         07/26/2022   80 NOTICE OF APPEARANCE by Shawn Geovjian Crowley on behalf of E. Jean Carroll..(Crowley,
                         Shawn) (Entered: 07/26/2022)
         07/26/2022   81 NOTICE OF APPEARANCE by Matthew J. Craig on behalf of E. Jean Carroll..(Craig, Matthew)
                         (Entered: 07/26/2022)
         08/01/2022   82 LETTER MOTION for Discovery / Discovery Dispute addressed to Judge Lewis A. Kaplan from
                         Roberta A. Kaplan, dated August 1, 2022. Document filed by E. Jean Carroll. (Attachments: # 1 Text
                         of Proposed Order [Proposed] Protective and Confidentiality Order).(Kaplan, Roberta) (Entered:
                         08/01/2022)
         08/03/2022   83 ORDER: Counsel are advised as follows: 1. Shawn G. Crowley, Esq., who filed a notice of
                         appearance in the first captioned case on July 26, 2022, is a former law clerk to the undersigned. The
                         undersigned co−officiated (with another judge) at the marriage of Ms. Crowley approximately seven
                         years ago. 2. Assistant United States Attorney Jeffrey W. Coyle, who appears for the United States in
                         the second captioned case, which was assigned to the undersigned on August 2, 2022, is a former law
                         clerk to the undersigned. (Signed by Judge Lewis A. Kaplan on 8/3/2022) (rro) (Entered: 08/03/2022)
         08/11/2022   84 PROTECTIVE AND CONFIDENTIALITY ORDER...regarding procedures to be followed that shall
                         govern the handling of confidential material...SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                         8/11/22) (yv) (Entered: 08/11/2022)
         08/17/2022   85 ORDER denying 78 Letter Motion for Conference re: 78 LETTER MOTION for Conference
                         addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated July 20, 2022. (HEREBY
                         ORDERED by Judge Lewis A. Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 08/17/2022)
         08/17/2022   86 ORDER terminating 82 Letter Motion for Discovery (HEREBY ORDERED by Judge Lewis A.
                         Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 08/17/2022)
         08/23/2022   87 PROPOSED STIPULATION AND ORDER. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                         (Entered: 08/23/2022)
         08/24/2022   88 STIPULATION AND ORDER. IT IS ACCORDINGLY STIPULATED AND AGREED that the
                         parties' deadline for making their expert disclosures under Rule 26(a)(2) is extended until October 14,
                         2022. IT IS SO ORDERED. (Signed by Judge Lewis A. Kaplan on 8/24/22) (yv) Modified on
                         9/13/2022 (yv). (Entered: 08/24/2022)
         09/20/2022   89 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated 8/8/22 re: providing the
                         Court a brief update on discovery; and (2) informing the Court of a case that Plaintiff plans to file
                         against Defendant pursuant to New York's Adult Survivors Act as soon as that statute authorizes us to
                         do so on November 24, 2022. Document filed by E. Jean Carroll.(yv) (Entered: 09/20/2022)
         09/20/2022   90 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated 8/11/22 re: response to the
                         letter submitted by the plaintiff, E. Jean Carroll ("Plaintiff"), on August 8, 2022. Document filed by
                         Donald J. Trump.(yv) (Entered: 09/20/2022)
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         09/27/2022   91 USCA OPINION (Certified) as to 46 Notice of Interlocutory Appeal, filed by Donald J. Trump, 45
                         Notice of Interlocutory Appeal filed by United States of America. USCA Case Number 20−3977−cv
                         (L), 20−3978−cv (Con). Defendant−Appellant Donald J. Trump and Movant−Appellant the United
                         States of America appeal from a judgment of the United States District Court for the Southern District
                         of New York (Kaplan, J.) denying their motion to substitute the United States in this action pursuant
                         to the Westfall Act of 1988. On appeal, appellants argue that substitution is warranted because the
                         President of the United States is a covered government employee under the Westfall Act, and because
                         Trump had acted within the scope of his employment when he made the allegedly defamatory
                         statements denying Plaintiff−Appellee E.Jean Carroll's 2019 sexual1 assault allegations. We
                         REVERSE the District Court's holding that the President of the United States is not an employee of
                         the government under the Westfall Act. And we VACATE the District Court's judgment that Trump
                         did not act within the scope of his employment, and CERTIFY that question to the D.C. Court of
                         Appeals. Judge Calabresi concurs in a separate opinion, and Judge Chin dissents in a separate
                         opinion.. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Certified: 9/27/2022.
                         (Attachments: # 1 Concurring by Judge CALABRESI, # 2 Dissenting by Judge Chin).(nd) (Entered:
                         09/27/2022)
         09/27/2022       Transmission of USCA Mandate to the District Judge re: 91 USCA Order,,,,,..(nd) (Entered:
                          09/27/2022)
         09/28/2022   92 LETTER MOTION to Stay addressed to Judge Lewis A. Kaplan from Alina Habba dated 9/28/2022.
                         Document filed by Donald J. Trump..(Habba, Alina) (Entered: 09/28/2022)
         09/30/2022   93 LETTER RESPONSE in Opposition to Motion addressed to Judge Lewis A. Kaplan from Roberta A.
                         Kaplan dated September 30, 2022 re: 92 LETTER MOTION to Stay addressed to Judge Lewis A.
                         Kaplan from Alina Habba dated 9/28/2022. . Document filed by E. Jean Carroll..(Kaplan, Roberta)
                         (Entered: 09/30/2022)
         10/03/2022   94 LETTER REPLY to Response to Motion addressed to Judge Lewis A. Kaplan from Alina Habba
                         dated 10/3/2022 re: 92 LETTER MOTION to Stay addressed to Judge Lewis A. Kaplan from Alina
                         Habba dated 9/28/2022. . Document filed by Donald J. Trump..(Habba, Alina) (Entered: 10/03/2022)
         10/04/2022   95 LETTER MOTION for Conference re: 92 LETTER MOTION to Stay addressed to Judge Lewis A.
                         Kaplan from Alina Habba dated 9/28/2022. addressed to Judge Lewis A. Kaplan from Alina Habba,
                         Esq. dated 10/4/22. Document filed by Donald J. Trump..(Habba, Alina) (Entered: 10/04/2022)
         10/04/2022       Set Hearings: Status Conference via−video conference is set for 10/7/2022 at 03:45 PM before Judge
                          Lewis A. Kaplan. Counsel have been sent video−conference invites by email. Public and press may
                          listen in via audio−only by dialing 1−888−363−4749 and entering access code 7664205# Participants
                          and listeners are reminded that recording or re−broadcasting of the conference in whole or in part is
                          prohibited by Court rules. (Mohan, Andrew) (Entered: 10/04/2022)
         10/06/2022       Minute Entry for proceedings held before Judge Lewis A. Kaplan: Video−Conference held on
                          10/6/2022. (Court Reporter Andrew Walker) (Mohan, Andrew) (Entered: 10/06/2022)
         10/07/2022       Minute Entry for proceedings held before Judge Lewis A. Kaplan: Interim Pretrial Conference held
                          via video−conference on 10/7/2022. AT&T Line was active for public and press to listen. (Court
                          Reporter Lisa Franko) (Mohan, Andrew) (Entered: 10/07/2022)
         10/12/2022   96 MEMORANDUM OPINION: re: 92 LETTER MOTION to Stay. addressed to Judge Lewis A.
                         Kaplan from Alina Habba dated 9/28/2022. filed by Donald J. Trump. The defendant's letter motion
                         [Dkt. 92] is denied. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 10/12/2022) (ama)
                         (Entered: 10/12/2022)
         11/10/2022   97 CONSENT LETTER MOTION for Conference addressed to Judge Lewis A. Kaplan from Roberta A.
                         Kaplan dated November 10, 2022. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A −
                         D.C. Court of Appeals Order).(Kaplan, Roberta) (Entered: 11/10/2022)
         11/17/2022   98 SUPPLEMENTAL LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated
                         November 17, 2022 re: November 11, 2022 LETTER MOTION for Scheduling Conference 97 .
                         Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A − Correspondence Between Counsel,
                         # 2 Exhibit B − Color−Coded Complaint in Second Action, # 3 Exhibit C − Complaint in Second
                         Action).(Kaplan, Roberta) (Entered: 11/17/2022)
         11/18/2022       Set/Reset Hearings: Status video−conference set for 11/22/2022 at 03:00 PM to be held by
                          video−conference with audio access for public and press to listen to the proceeding held before Judge
                          Lewis A. Kaplan. Counsel will appear by video. Listeners may dial−in for audio at 1−888−363−4749
                          and enter conference ID 7664205# Recording or re−broadcasting of the hearing is prohibited by
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                           Court rules. (Mohan, Andrew) Modified on 11/20/2022 (Mohan, Andrew). (Entered: 11/18/2022)
         11/21/2022    99 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated 11/21/2022 Document filed
                          by Donald J. Trump..(Habba, Alina) (Entered: 11/21/2022)
         11/22/2022        Minute Entry for proceedings held before Judge Lewis A. Kaplan via video−conference: Status
                           Conference held on 11/22/2022. Public dial−in by AT&T conference line was active. (Court Reporter
                           Pam Utter) (Mohan, Andrew) (Entered: 11/22/2022)
         11/29/2022 100 ORDER re: Plaintiffs consent letter motion (Dkt 97), as supplemented (Dkt 98), is granted to the
                        extent that (1) the trial of this action is postponed until April 10, 2023, and (2) the Court adopts, for
                        this action only, the proposed schedule for in limine motions and exchange of premarked exhibits.
                        Except as modified by the preceding sentence, the scheduling and supplemental scheduling orders
                        (Dkt 76, Dkt 77) remain in effect. Insofar as plaintiffs motion, as supplemented, relates to the
                        subsequently filed action Carroll v Trump, 22−cv−10016 (LAK), the Court does not now make any
                        rulings. (Signed by Judge Lewis A. Kaplan on 11/29/2022) (Mohan, Andrew) (Entered: 11/29/2022)
         11/29/2022 101 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated 11/29/2022 re: modified
                        schedule. Document filed by Donald J. Trump..(Habba, Alina) (Entered: 11/29/2022)
         11/30/2022 102 MEMO ENDORSEMENT on re: 101 Letter modified schedule filed by Donald J. Trump.
                        ENDORSEMENT: Counsel's understanding is incorrect. As the November 29, 2022 order (Dkt 100)
                        makes quite clear, the scheduling and supplemental scheduling orders remain in effect except to the
                        extent that (I) the trial date has been adjourned until April 10, 2023 and (2) the Court adopted the
                        proposed schedule for in limine motions and exchange of premarked exhibits. It did not adopt the
                        proposal to delay the briefing and filing of any summary judgment motions and the filing of a joint
                        pretrial order for more than two months, which would threaten to delay even the April 10 trial date,
                        should a trial prove necessary. In the circumstances, the Court treats defendant's letter (Dkt 101) as an
                        application for an extension of time for the filing of any summary judgment motions and the joint
                        pretrial order and grants it to the extent that (1) any summary judgment motions shall be filed on or
                        before December 22, 2022, (2) any papers in opposition to any summary judgment motions shall be
                        filed on or before January 12, 2023, (3) any reply papers shall be filed on or before January 19, 2023,
                        and (4) the joint pretrial order shall be filed on or before February 9, 2023. The application is
                        otherwise denied. SO ORDERED., ( Motions due by 12/22/2022., Pretrial Order due by 2/9/2023.,
                        Responses due by 1/12/2023, Replies due by 1/19/2023.) (Signed by Judge Lewis A. Kaplan on
                        11/30/22) (yv) Modified on 12/28/2022 (yv). (Entered: 11/30/2022)
         12/02/2022 103 TRANSCRIPT of Proceedings re: CONFERENCE held on 11/22/2022 before Judge Lewis A.
                        Kaplan. Court Reporter/Transcriber: Pamela Utter, (212) 805−0300. Transcript may be viewed at the
                        court public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                        Release of Transcript Restriction. After that date it may be obtained through PACER. Redaction
                        Request due 12/23/2022. Redacted Transcript Deadline set for 1/3/2023. Release of Transcript
                        Restriction set for 3/2/2023..(McGuirk, Kelly) (Entered: 12/02/2022)
         12/02/2022 104 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a CONFERENCE proceeding held on 11/22/2022 has been filed by the court reporter/transcriber in
                        the above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice
                        of Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 12/02/2022)
         12/05/2022 105 ORDER. If she has not already done so, counsel of record for the defendant in this case shall transmit
                        to the defendant and to any counsel who may have been engaged to represent defendant in Carroll v.
                        Trump, 22−cv−10016 (LAK) ( "Carroll II"), for delivery no later than December 6, 2022, a copy of
                        this Court's order, dated December 2, 2022, in Carroll II Counsel is directed to do so as an officer of
                        the Court. The Court does not imply that she has been or will be engaged to represent the defendant in
                        Carroll II SO ORDERED. (Signed by Judge Lewis A. Kaplan on 12/5/22) (yv) (Entered: 12/05/2022)
         12/20/2022 106 PROTECTIVE AND CONFIDENTIALITY ORDER...regarding procedures to be followed that shall
                        govern the handling of confidential material... SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                        12/20/2022) (vfr) (Entered: 12/20/2022)
         12/22/2022 107 MOTION for Summary Judgment . Document filed by Donald J. Trump..(Habba, Alina) (Entered:
                        12/22/2022)
         12/22/2022 108 DECLARATION of Alina Habba in Support re: 107 MOTION for Summary Judgment .. Document
                        filed by Donald J. Trump..(Habba, Alina) (Entered: 12/22/2022)
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         12/22/2022 109 MEMORANDUM OF LAW in Support re: 107 MOTION for Summary Judgment . . Document filed
                        by Donald J. Trump. (Attachments: # 1 Supplement Statement of Material Facts).(Habba, Alina)
                        (Entered: 12/22/2022)
         01/09/2023 110 MOTION for Trevor W. Morrison to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                        ANYSDC−27180100. Motion and supporting papers to be reviewed by Clerk's Office staff.
                        Document filed by E. Jean Carroll. (Attachments: # 1 Affidavit of Trevor W. Morrison, # 2 Exhibit −
                        Certificate of Good Standing, # 3 Text of Proposed Order for Admission Pro Hac Vice).(Morrison,
                        Trevor) (Entered: 01/09/2023)
         01/10/2023        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 110
                           MOTION for Trevor W. Morrison to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                           ANYSDC−27180100. Motion and supporting papers to be reviewed by Clerk's Office staff.. The
                           document has been reviewed and there are no deficiencies. (sgz) (Entered: 01/10/2023)
         01/12/2023 111 LETTER MOTION to Seal addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated
                        January 12, 2023. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 01/12/2023)
         01/12/2023 112 MEMORANDUM OF LAW in Opposition re: 107 MOTION for Summary Judgment . . Document
                        filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 01/12/2023)
         01/12/2023 113 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 107 MOTION for
                        Summary Judgment . . Document filed by E. Jean Carroll, Donald J. Trump. Motion or Order to File
                        Under Seal: 111 .(Kaplan, Roberta) (Entered: 01/12/2023)
         01/12/2023 114 RULE 56.1 STATEMENT. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        01/12/2023)
         01/12/2023 115 ***SELECTED PARTIES***RULE 56.1 STATEMENT. Document filed by E. Jean Carroll, Donald
                        J. Trump. Motion or Order to File Under Seal: 111 .(Kaplan, Roberta) (Entered: 01/12/2023)
         01/12/2023 116 DECLARATION of Roberta A. Kaplan in Opposition re: 107 MOTION for Summary Judgment ..
                        Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit 1 − Excerpts of Deposition of E. Jean
                        Carroll, # 2 Exhibit 2 − New York Magazine Article (Online Version), # 3 Exhibit 3 − June 21, 2019
                        Statement, # 4 Exhibit 4 − June 22, 2019 Statement, # 5 Exhibit 5 − June 24, 2019 Statement, # 6
                        Exhibit 6 − Excerpts of Deposition of Donald J. Trump, # 7 Exhibit 7 − Photograph of E. Jean Carroll
                        and Donald Trump, # 8 Exhibit 8 − Excerpts of Deposition of Lisa Birnbach, # 9 Exhibit 9 − Excerpts
                        of Deposition of Carol Martin, # 10 Exhibit 10 − New York Magazine Article (Print Version), # 11
                        Exhibit 11 − Defendant's Responses and Objections to Plaintiff's First Set of Requests for Admission,
                        # 12 Exhibit 12 − Excerpts of Deposition of Roberta Myers, # 13 Exhibit 13 − Appendix H to Expert
                        Report of Ashlee Humphreys, # 14 Exhibit 14 − Appendix I to Expert Report of Ashlee
                        Humphreys).(Kaplan, Roberta) (Entered: 01/12/2023)
         01/12/2023 117 ***SELECTED PARTIES***DECLARATION of Roberta A. Kaplan in Opposition re: 107
                        MOTION for Summary Judgment .. Document filed by E. Jean Carroll, Donald J. Trump.
                        (Attachments: # 1 Exhibit 1 − Excerpts of Deposition of E. Jean Carroll, # 2 Exhibit 2 − New York
                        Magazine Article (Online Version), # 3 Exhibit 3 − June 21, 2019 Statement, # 4 Exhibit 4 − June 22,
                        2019 Statement, # 5 Exhibit 5 − June 24, 2019 Statement, # 6 Exhibit 6 − Excerpts of Deposition of
                        Donald J. Trump, # 7 Exhibit 7 − Photograph of E. Jean Carroll and Donald Trump, # 8 Exhibit 8 −
                        Excerpts of Deposition of Lisa Birnbach, # 9 Exhibit 9 − Excerpts of Deposition of Carol Martin, #
                        10 Exhibit 10 − New York Magazine Article (Print Version), # 11 Exhibit 11 − Defendant's
                        Responses and Objections to Plaintiff's First Set of Requests for Admission, # 12 Exhibit 12 −
                        Excerpts of Deposition of Roberta Myers, # 13 Exhibit 13 − Appendix H to Expert Report of Ashlee
                        Humphreys, # 14 Exhibit 14 − Appendix I to Expert Report of Ashlee Humphreys)Motion or Order to
                        File Under Seal: 111 .(Kaplan, Roberta) (Entered: 01/12/2023)
         01/13/2023 118 ORDER granting 110 Motion for Trevor W. Morrison to Appear Pro Hac Vice. (Signed by Judge
                        Lewis A. Kaplan on 1/13/2023) (Mohan, Andrew) (Entered: 01/13/2023)
         01/13/2023 119 MEMO ENDORSEMENT Granting the 1/12/2023 letter from Roberta A. Kaplan to Hon. Lewis A.
                        Kaplan requesting provisional approval to file certain materials under seal. (Signed by Judge Lewis
                        A. Kaplan on 1/13/2023) (Mohan, Andrew) (Entered: 01/13/2023)
         01/17/2023 120 LETTER addressed to Judge Lewis A. Kaplan from Michael Madaio dated 1/17/2023 re:
                        withdrawing request to seal documents. Document filed by Donald J. Trump..(Madaio, Michael)
                        (Entered: 01/17/2023)
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         01/18/2023 121 MEMO ENDORSEMENT: on re: 120 Letter filed by Donald J. Trump. ENDORSEMENT: The Clerk
                        Shall unseal the requested portions of defendant's deposition transcript attach by ECF #117. SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 1/18/2023) (ama) (Entered: 01/18/2023)
         01/19/2023 122 REPLY MEMORANDUM OF LAW in Support re: 107 MOTION for Summary Judgment . .
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 01/19/2023)
         01/20/2023 123 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan, dated January 20, 2023 re:
                        Summary Judgment Reply Brief. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        01/20/2023)
         01/20/2023 124 MEMO ENDORSEMENT on re: 123 Letter Summary Judgment Reply Brief filed by E. Jean Carroll.
                        ENDORSEMENT: Sur−reply due by 1/24/23. No argument. SO ORDERED., ( Surreplies due by
                        1/24/2023.) (Signed by Judge Lewis A. Kaplan on 1/20/23) (yv) (Entered: 01/20/2023)
         01/24/2023 125 SUPPLEMENTAL REPLY MEMORANDUM OF LAW in Opposition re: 107 MOTION for
                        Summary Judgment . . Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 01/24/2023)
         02/02/2023 126 LETTER addressed to Judge Lewis A. Kaplan from Cory Gnazzo dated 1/31/23 re: request that the
                        Clerk of Court file a public, unredacted version of ECF No. 112. (yv) (Entered: 02/02/2023)
         02/07/2023 127 MEMO ENDORSEMENT: on re: 126 Letter. ENDORSEMENT: The redacted portions of the
                        plaintiffs opposition brief and plaintiffs response to the defendant's Rule 56.1 statement are
                        information drawn from the defendant's deposition transcript,which already has been unsealed
                        pursuant to this Court's order on January 18, 2023 (Dkt 121). The designated portions of plaintiffs
                        opposition filings accordingly no longer need to be sealed. The Clerk shall unseal the designated
                        portions of plaintiffs opposition brief (Dkt 113) and plaintiffs response to defendant's Rule 56.1
                        statement (Dkt 115). SO ORDERED. (Signed by Judge Lewis A. Kaplan on 2/07/2023) (ama)
                        (Entered: 02/07/2023)
         02/09/2023 128 PROPOSED PRE−TRIAL ORDER. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        02/09/2023)
         02/13/2023 129 JOINT PRETRIAL ORDER. The parties having conferred among themselves and with the Court
                        pursuant to Fed. R. Civ. P. 16, the following statements, directions and agreements are adopted as the
                        Pretrial Order herein as further set forth in this Order. Carroll and Trump both request that this action
                        be tried by jury. The parties estimate that the trial will take between 5 and 7 days. IT IS SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 2/13/23) (yv) (Entered: 02/13/2023)
         02/16/2023 130 MOTION in Limine . Document filed by Donald J. Trump..(Habba, Alina) (Entered: 02/16/2023)
         02/16/2023 131 MEMORANDUM OF LAW in Support re: 130 MOTION in Limine . . Document filed by Donald J.
                        Trump..(Habba, Alina) (Entered: 02/16/2023)
         02/16/2023 132 DECLARATION of Alina Habba in Support re: 130 MOTION in Limine .. Document filed by
                        Donald J. Trump. (Attachments: # 1 Exhibit A − Deposition of Natasha Stoynoff, # 2 Exhibit B −
                        Deposition of Jessica Leeds).(Habba, Alina) (Entered: 02/16/2023)
         02/16/2023 133 MOTION in Limine . Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 02/16/2023)
         02/16/2023 134 MEMORANDUM OF LAW in Support re: 133 MOTION in Limine . . Document filed by E. Jean
                        Carroll..(Kaplan, Roberta) (Entered: 02/16/2023)
         02/16/2023 135 DECLARATION of Roberta A. Kaplan in Support re: 133 MOTION in Limine .. Document filed by
                        E. Jean Carroll. (Attachments: # 1 Exhibit 1 Excerpts of Deposition of Lisa Birnbach, # 2 Exhibit 2
                        Excerpts of Deposition of Carol Martin, # 3 Exhibit 3 Excerpts of Deposition of Donald J. Trump, # 4
                        Exhibit 4 Excerpts of Deposition of Natasha Stoynoff, # 5 Exhibit 5 Excerpts of Deposition of Jessica
                        Leeds, # 6 Exhibit 6 Excerpt of Deposition of E. Jean Carroll, # 7 Exhibit 7 Exhibit 33 from the
                        Deposition of Donald J. Trump, # 8 Exhibit 8 Expert Report of Ashlee Humphreys, PhD, # 9 Exhibit
                        9 Rebuttal Expert Report of Robert J. Fisher, # 10 Exhibit 10 Excerpts of Deposition of Robert J.
                        Fisher, # 11 Exhibit 11 Trumps Initial Disclosures, # 12 Exhibit 12 Trumps Supplemental Expert
                        Disclosures, # 13 Exhibit 13 Trumps Initial Disclosures in Carroll II, # 14 Exhibit 14 − Trumps Supp.
                        Responses to Interrogatories, # 15 Exhibit 15 Aug. 24, 2022 Email from M. Madaio, # 16 Exhibit 16
                        Exhibit 20 from the Deposition of Donald J. Trump, # 17 Exhibit 17 − Excerpts of Deposition of
                        Stephanie Grisham).(Kaplan, Roberta) (Entered: 02/16/2023)
         02/23/2023 136 MEMORANDUM OF LAW in Opposition re: 133 MOTION in Limine . . Document filed by Donald
                        J. Trump..(Habba, Alina) (Entered: 02/23/2023)
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         02/23/2023 137 DECLARATION of Alina Habba in Opposition re: 133 MOTION in Limine .. Document filed by
                        Donald J. Trump. (Attachments: # 1 Exhibit A − Deposition of Natasha Stoynoff, # 2 Exhibit B −
                        Deposition of Jessica Leeds, # 3 Exhibit C − Expert Report of Robert Fisher, # 4 Exhibit D −
                        Deposition of Robert Fisher, # 5 Exhibit E − Deposition of E. Jean Carroll, # 6 Exhibit F− Deposition
                        of E. Jean Carroll, # 7 Exhibit G − Plaintiff's Second Supplemental Disclosure, # 8 Exhibit H −
                        Plaintiff's Third Supplemental Disclosure).(Habba, Alina) (Entered: 02/23/2023)
         02/23/2023 138 MEMORANDUM OF LAW in Opposition re: 130 MOTION in Limine . . Document filed by E. Jean
                        Carroll..(Kaplan, Roberta) (Entered: 02/23/2023)
         02/23/2023 139 DECLARATION of Roberta A. Kaplan in Opposition re: 130 MOTION in Limine .. Document filed
                        by E. Jean Carroll. (Attachments: # 1 Exhibit 1 − Excerpts of Deposition of Natasha Stoynoff, # 2
                        Exhibit 2 − Excerpts of Deposition of Jessica Leeds, # 3 Exhibit 3 − Access Hollywood Video, # 4
                        Exhibit 4 − Excerpts of Deposition of Donald J. Trump, # 5 Exhibit 5 − Sept. 26, 2016 Debate Video,
                        # 6 Exhibit 6 − Excerpts of Deposition of E. Jean Carroll, # 7 Exhibit 7 − Oct. 13, 2016 Campaign
                        Video 1, # 8 Exhibit 8 − Oct. 13, 2016 Campaign Video 2, # 9 Exhibit 9 − Oct. 13, 2016 Campaign
                        Video 3, # 10 Exhibit 10 − Oct. 14, 2016 Campaign Video 1, # 11 Exhibit 11 − Oct. 14, 2016
                        Campaign Video 2, # 12 Exhibit 12 − Oct. 21, 2016 Campaign Video, # 13 Exhibit 13 − June 21,
                        2019 Statement, # 14 Exhibit 14 − June 22, 2019 Statement, # 15 Exhibit 15 − June 24, 2019
                        Statement, # 16 Exhibit 16 − Oct. 12, 2022 Statement).(Kaplan, Roberta) (Entered: 02/23/2023)
         03/02/2023 140 REPLY MEMORANDUM OF LAW in Support re: 130 MOTION in Limine . . Document filed by
                        Donald J. Trump..(Habba, Alina) (Entered: 03/02/2023)
         03/03/2023 141 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan, dated March 3, 2023 re:
                        Defendants Unauthorized Reply Brief. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 03/03/2023)
         03/03/2023 142 MEMO ENDORSEMENT on re: 141 Letter Defendants Unauthorized Reply Brief filed by E. Jean
                        Carroll. ENDORSEMENT : Reply brief not to exceed 5 pages due by March 9, 2023. SO
                        ORDERED., ( Replies due by 3/9/2023.) (Signed by Judge Lewis A. Kaplan on 3/3/23) (yv) (Entered:
                        03/03/2023)
         03/09/2023 143 REPLY MEMORANDUM OF LAW in Support re: 133 MOTION in Limine . . Document filed by E.
                        Jean Carroll..(Kaplan, Roberta) (Entered: 03/09/2023)
         03/09/2023 144 DECLARATION of Roberta A. Kaplan in Support re: 133 MOTION in Limine .. Document filed by
                        E. Jean Carroll. (Attachments: # 1 Exhibit 1 − Excerpts of Deposition of Robert J. Fisher in Carroll I,
                        # 2 Exhibit 2 − Excerpt of Deposition of Robert J. Fisher in Carroll II).(Kaplan, Roberta) (Entered:
                        03/09/2023)
         03/10/2023 145 MEMORANDUM OPINION re: 130 MOTION in Limine , filed by Donald J. Trump. For the
                        foregoing reasons, Mr. Trump's in limine motion (Dkt. 130) is denied in all respects. This ruling is
                        without prejudice to renewing his objection to the campaign speech excerpts in the event they are
                        offering at trial. Unless otherwise ordered, those excerpts shall not be mentioned in opening
                        statements. (Signed by Judge Lewis A. Kaplan on 3/10/2023) (tro) (Entered: 03/10/2023)
         03/10/2023 146 NOTICE OF APPEARANCE by Michael Ferrara on behalf of E. Jean Carroll..(Ferrara, Michael)
                        (Entered: 03/10/2023)
         03/17/2023 147 LETTER MOTION to Consolidate Cases 1:22−cv−10016 for Trial addressed to Judge Lewis A.
                        Kaplan from Roberta A. Kaplan, dated March 17, 2023. Document filed by E. Jean Carroll.
                        (Attachments: # 1 Text of Proposed Order / Stipulation and [Proposed] Order).(Kaplan, Roberta)
                        (Entered: 03/17/2023)
         03/20/2023 148 ORDER denying 147 Letter Motion to Consolidate Cases. The letter motion to consolidate these
                        cases for trial, filed in the first captioned case as Dkt 14 7, is denied. The parties overestimate both
                        the judicial economy benefits that would be achieved and the risk of inconsistent rulings that would
                        be eliminated by consolidation. Issue preclusion appears to the Court adequate to achieve appropriate
                        conservation of judicial resources and avoidance of inconsistent rulings even if the two cases were
                        tried separately. Moreover, a trial in 20−cv−7311 conceivably could prove unnecessary. In addition,
                        approval of the consolidation proposal would be in tension with the deference to the Second Circuit
                        and the District of Columbia Court of Appeals that this Court believes appropriate in the
                        circumstances. 2.The trial of 20−cv−7311, previously scheduled tentatively to begin on April 10,
                        2023, is adjourned sine die. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 3/20/23) (yv)
                        (Entered: 03/20/2023)
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         04/21/2023 149 OPINION of USCA (Certified Copy) as to 46 Notice of Interlocutory Appeal, filed by Donald J.
                        Trump, 45 Notice of Interlocutory Appeal filed by United States of America USCA Case Number
                        20−3977−cv (L), 20−3978−cv (Con). Having vacated in our prior opinion the District Court's
                        judgment that Trump did not act within the scope of his employment, Carroll I, 49 F.4th at 761, we
                        now REMAND to the district court for further proceedings consistent with the detailed guidance
                        provided by the D.C. Court of Appeals. The Clerk is directed to issue the mandate forthwith.
                        Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Certified: 4/21/2023. (tp) Modified
                        on 4/21/2023 (tp). (Entered: 04/21/2023)
         04/21/2023 150 MANDATE of USCA (Certified Copy) as to 46 Notice of Interlocutory Appeal, filed by Donald J.
                        Trump, 45 Notice of Interlocutory Appeal filed by United States of America USCA Case Number
                        20−3977−cv (L), 20−3978−cv (Con). IT IS HEREBY ORDERED, ADJUDGED and DECREED that
                        the cause is REMANDED to the district court for further proceedings consistent with the detailed
                        guidance provided by the D.C. Court of Appeals. Catherine O'Hagan Wolfe, Clerk USCA for the
                        Second Circuit. Issued As Mandate: 4/21/2023. (Attachments: # 1 Appendix Supporting Document).
                        (tp) (Entered: 04/21/2023)
         05/11/2023 151 LETTER addressed to Judge Lewis A. Kaplan from Susan S. Harmon, Esq. dated 5/1/2023 re:
                        Alleged 1996 Rape at Bergdorf Goodman. I have some exculpatory evidence and material to offer in
                        this case in favor of defendant.(Mohan, Andrew) (Entered: 05/11/2023)
         05/11/2023 152 MOTION to Intervene. Document filed by Reuben Larson. (Attachments: # 1 Exhibit A, # 2 Exhibit
                        B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Certificate of
                        Service.(vba) (Entered: 05/12/2023)
         05/15/2023 153 ORDER. Reuben Larson, appearing prose, has petitioned to "address" and "remonstrance" this Court
                        in relation to the above−captioned matter. Applying a liberal interpretation of his pro se filing, the
                        Court construes his petition as a motion to intervene. That motion is denied both as a matter of law
                        and in the Court's discretion. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 5/11/23) (yv)
                        (Entered: 05/15/2023)
         05/22/2023 154 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan, dated May 22, 2023 re:
                        Proposed Schedule. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 05/22/2023)
         05/22/2023 155 MOTION to Amend/Correct . Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        05/22/2023)
         05/22/2023 156 MEMORANDUM OF LAW in Support re: 155 MOTION to Amend/Correct . . Document filed by E.
                        Jean Carroll..(Kaplan, Roberta) (Entered: 05/22/2023)
         05/22/2023 157 DECLARATION of Roberta A. Kaplan in Support re: 155 MOTION to Amend/Correct .. Document
                        filed by E. Jean Carroll. (Attachments: # 1 Exhibit A − Amended Complaint, # 2 Exhibit B − Redline
                        Comparison).(Kaplan, Roberta) (Entered: 05/22/2023)
         05/24/2023        ORDER terminating 152 Motion to Intervene (HEREBY ORDERED by Judge Lewis A.
                           Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 05/24/2023)
         05/24/2023 158 ORDER, 1.Any response to plaintiff's letter of May 22, 2023 shall be filed on or before May 26,
                        2023. Unless otherwise ordered, any opposition to plaintiff's motion to amend, and any reply in
                        support thereof, under the Rules of this Court, is due on or before June 5, 2023 and June 12, 2023,
                        respectively. 3. Government counsel promptly should begin their review of deposition and other
                        discovery material and such other material as may be appropriate that the United States has not
                        previously considered and that the patties have suggested may be relevant "to the substitution issue."
                        SO ORDERED. ( Replies due by 6/12/2023.) (Signed by Judge Lewis A. Kaplan on 5/24/23) (yv)
                        (Entered: 05/24/2023)
         05/26/2023 159 LETTER addressed to Judge Lewis A. Kaplan from Stephen Terrell dated 05/26/2023 re: May 22,
                        2023, Letter; Order of May 24, 2023. Document filed by United States of America..(Terrell, Stephen)
                        (Entered: 05/26/2023)
         05/26/2023 160 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated May 26, 2023 re: Response to
                        Plaintiff's Letter. Document filed by Donald J. Trump..(Habba, Alina) (Entered: 05/26/2023)
         05/31/2023 161 AFFIDAVIT IN SUPPORT OF MOTION TO INTERVENE(MOTION to Intervene).Document filed
                        by James H. Brady, proposed intervenor. (Attachments: # 1 Exhibit 1, # 2 Certificate of Service)(sc)
                        Modified on 6/1/2023 (sc). (Entered: 06/01/2023)
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         06/01/2023 162 MEMO ENDORSED ORDER denying 161 Motion to Intervene. ENDORSEMENT: There are only
                        two bases on which one may intervene in a civil action. The first is intervention as of right, which is
                        available only to one who "is given an unconditional right to intervene by a federal statute" or "claims
                        an interest relating to the property or transaction that is the subject of the action, and is so situated that
                        disposing of the action may as a practical matter impair or impede the movant's ability to protect its
                        interest, unless the existing parties adequately represent that interest." Fed. R. Civ. P. 24(a). The
                        second is intervention by permission of the court, which in an appropriate case may be granted if the
                        putative intervenor "is given a conditional right to intervene by a federal statute" or "has a claim or
                        defense that shares with the main action a common question of law or fact." Fed. R. Civ. P. 24(b). Mr.
                        Brady does not satisfy any of these criteria. Accordingly, this motion is denied. SO ORDERED.
                        (Signed by Judge Lewis A. Kaplan on 6/1/23) (yv) (Entered: 06/01/2023)
         06/01/2023 163 ORDER: The government shall advise the Court on or before June 9, 2023, whether it is the
                        government's position that the filing of an amended complaint in this case would render the
                        government's previous Westfall Act certification ineffective and moot the government's motion to
                        substitute itself for Mr. Trump under that Act. The Court implies no determination or view as to
                        whether plaintiff's motion for leave to amend the complaint should be granted or denied. (Signed by
                        Judge Lewis A. Kaplan on 6/1/2023) (ate) (Entered: 06/01/2023)
         06/05/2023 164 MEMORANDUM OF LAW in Opposition re: 155 MOTION to Amend/Correct . . Document filed by
                        Donald J. Trump..(Habba, Alina) (Entered: 06/05/2023)
         06/05/2023 165 DECLARATION of Alina Habba in Opposition re: 155 MOTION to Amend/Correct .. Document
                        filed by Donald J. Trump. (Attachments: # 1 Exhibit A− New York Magazine Article, # 2 Exhibit B −
                        Complaint, # 3 Exhibit C − Carroll II Complaint, # 4 Exhibit D − Relevant Portion of Plaintiff's Trial
                        Testimony, # 5 Exhibit E − Carroll II Jury Verdict, # 6 Exhibit F − Notice of Appeal, # 7 Exhibit G −
                        Defendant's CNN Town Hall Transcript, # 8 Exhibit H − Deposition of E. Jean Carroll).(Habba,
                        Alina) (Entered: 06/05/2023)
         06/09/2023 166 LETTER addressed to Judge Lewis A. Kaplan from Stephen Terrell dated June 9, 20203 re: Order of
                        June 1, 2023. Document filed by United States of America..(Terrell, Stephen) (Entered: 06/09/2023)
         06/09/2023 167 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated 06/09/2023 re:
                        Department of Justice Letter. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        06/09/2023)
         06/12/2023 168 REPLY MEMORANDUM OF LAW in Support re: 155 MOTION to Amend/Correct . . Document
                        filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 06/12/2023)
         06/13/2023 169 ORDER granting 155 Motion to Amend/Correct 155 MOTION to Amend/Correct ., 6 Notice of
                        Removal. The plaintiff's motion for leave to amend [Dkt 155] is granted. A memorandum opinion
                        may follow. The amended complaint is deemed served and filed today. Defendant has requested that
                        the Court, "[s]hould the Court... deny Plaintiff's Motion to Amend" [Dkt 164, at 19], grant defendant
                        permission to file a supplemental motion for summary judgment. As the Court has granted plaintiff's
                        motion, that request is moot. In all the circumstances, any further submission by the United States
                        (including any new or amended certification and/or motion to substitute) and/or the defendant with
                        respect to substitution of the United States for the defendant shall be served and filed no later than
                        July 13, 2023. Any response by the plaintiff shall be served and filed no later than July 27, 2023. Any
                        reply(ies) by the United States and/or the defendant shall be served and filed no later than August 3,
                        2023. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 6/13/23) (yv) (Entered: 06/13/2023)
         06/13/2023         Set/Reset Deadlines: Motions due by 7/13/2023. Responses due by 7/27/2023. Replies due by
                            8/3/2023. (yv) (Entered: 06/13/2023)
         06/15/2023 170 ORDER, Unless this case previously has been entirely disposed of, trial of this action shall commence
                        on January 15, 2024 absent contrary order of the Court. ( Jury Trial set for 1/15/2024 at 09:30 AM
                        before Judge Lewis A. Kaplan.) (Signed by Judge Lewis A. Kaplan on 6/15/2023) (Mohan, Andrew)
                        (Entered: 06/15/2023)
         06/27/2023 171 AMENDED ANSWER to., COUNTERCLAIM against E. Jean Carroll. Document filed by Donald J.
                        Trump..(Habba, Alina) (Entered: 06/27/2023)
         06/29/2023 172 MEMORANDUM OPINION DENYING DEFENDANT'S MOTION FOR SUMMARY
                        JUDGMENT re: 107 MOTION for Summary Judgment . filed by Donald J. Trump. For the foregoing
                        reasons, Mr. Trump's motion for summary judgment dismissing the complaint (Dkt 107) and his
                        alternative request for leave to amend his answer to assert the absolute presidential immunity defense
                        are denied. (Signed by Judge Lewis A. Kaplan on 6/29/2023) (tro) (Entered: 06/29/2023)
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         07/05/2023 173 MEMORANDUM OPINION DENYING DEFENDANT'S MOTION FOR SUMMARY
                        JUDGMENT (CORRECTED): For the foregoing reasons, Mr. Trump's motion for summary
                        judgment dismissing the complaint (Dkt 107) and his alternative request for leave to amend his
                        answer to assert the absolute presidential immunity defense are denied. SO ORDERED. (Signed by
                        Judge Lewis A. Kaplan on 7/5/2023) (tg) (Entered: 07/05/2023)
         07/11/2023 174 MOTION to Dismiss and Motion to Strike. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 07/11/2023)
         07/11/2023 175 MEMORANDUM OF LAW in Support re: 174 MOTION to Dismiss and Motion to Strike. .
                        Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 07/11/2023)
         07/11/2023 176 DECLARATION of Roberta A. Kaplan in Support re: 174 MOTION to Dismiss and Motion to
                        Strike.. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A − Excerpts of Carroll II Trial
                        Transcript, # 2 Exhibit B − Video Recording of Carroll Interview on CNN, # 3 Exhibit C − Transcript
                        of Carroll Interview on CNN).(Kaplan, Roberta) (Entered: 07/11/2023)
         07/11/2023 177 LETTER addressed to Judge Lewis A. Kaplan from James G. Touhey, Jr. dated July 11, 2023 re:
                        Westfall Act Certification. Document filed by United States of America. (Attachments: # 1 Exhibit
                        July 11, 2023, Ltr from Boynton to Counsel).(Terrell, Stephen) (Entered: 07/11/2023)
         07/19/2023 178 ORDER, The Court hereby establishes the following procedure. I. On or before August 2, 2023, each
                        party shall file a motion setting forth precisely each fact or proposition of law, if any, as to which the
                        moving party claims Carroll II has preclusive effect in this action. The motion shall be supported by a
                        memorandum of law setting forth the bases for the moving party's claim.No fact or proposition of law
                        not identified in such a motion shall be regarded as having been established by Carroll II 2.
                        Answering and reply papers with respect to any such motion shall be filed on or before August 16,
                        2023 and August 23, 2023, respectively. SO ORDERED. ( Motions due by 8/2/2023., Replies due by
                        8/23/2023., Responses due by 8/16/2023) (Signed by Judge Lewis A. Kaplan on 7/19/23) (yv)
                        (Entered: 07/19/2023)
         07/19/2023 179 NOTICE OF INTERLOCUTORY APPEAL from 173 Memorandum & Opinion,. Document filed by
                        Donald J. Trump. Filing fee $ 505.00, receipt number ANYSDC−28020542. Form C and Form D are
                        due within 14 days to the Court of Appeals, Second Circuit. (Attachments: # 1 Exhibit Memorandum
                        Opinion Denying Defendant's Motion for Summary Judgment (Corrected)).(Madaio, Michael)
                        (Entered: 07/19/2023)
         07/19/2023        Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re:
                           179 Notice of Interlocutory Appeal. (km) (Entered: 07/19/2023)
         07/19/2023        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files
                           for 179 Notice of Interlocutory Appeal, filed by Donald J. Trump were transmitted to the U.S. Court
                           of Appeals. (km) (Entered: 07/19/2023)
         07/25/2023 180 MEMORANDUM REGARDING PLAINTIFF'S MOTION TO FILE AN AMENDED
                        COMPLAINT. There accordingly is no merit to any of Mr. Trump's arguments in opposition to Ms.
                        Carroll's motion for leave to amend her complaint. (Signed by Judge Lewis A. Kaplan on 7/25/23)
                        (yv) (Entered: 07/25/2023)
         07/25/2023 181 MEMORANDUM OF LAW in Opposition re: 174 MOTION to Dismiss and Motion to Strike. .
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 07/25/2023)
         07/26/2023 182 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated 7/25/2023 re: We write
                        on behalf of Plaintiff E. Jean Carroll with respect to Your Honor's July 19, 2023 Order directing each
                        party to "file a motion setting forth precisely each fact or proposition of law, if any, as to which the
                        moving party claims Carroll II has preclusive effective in this action." ECF 178. We understand this
                        Order as directing the parties to submit any targeted summary judgment motions they may wish to
                        make in Carroll I raising preclusion arguments based on Carroll II. Document filed by E. Jean
                        Carroll.(Mohan, Andrew) (Entered: 07/26/2023)
         07/27/2023 183 LETTER addressed to Judge Lewis A. Kaplan from Susan Hoffinger dated 7/26/23 re: equest that
                        Your Honor apprise us as to whether Kaplan Hecker & Fink, LLP may comply with the People's trial
                        subpoena or if the Protective and Confidentiality Order in Carroll v. Trump precludes such
                        compliance.(yv) (Entered: 07/27/2023)
         07/27/2023 184 NOTICE OF APPEARANCE by Michael T Madaio on behalf of Donald J. Trump..(Madaio,
                        Michael) (Entered: 07/27/2023)
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         07/27/2023 185 MOTION to Stay Pending Appeal. Document filed by Donald J. Trump..(Madaio, Michael) (Entered:
                        07/27/2023)
         07/27/2023 186 MEMORANDUM OF LAW in Support re: 185 MOTION to Stay Pending Appeal. . Document filed
                        by Donald J. Trump..(Madaio, Michael) (Entered: 07/27/2023)
         07/28/2023 187 ORDER Any response to the District Attorneys letter shall be filed on or before August 2, 2023.
                        (Signed by Judge Lewis A. Kaplan on 7/28/2023) (Mohan, Andrew) (Entered: 07/28/2023)
         08/01/2023 188 REPLY MEMORANDUM OF LAW in Support re: 174 MOTION to Dismiss and Motion to Strike. .
                        Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 08/01/2023)
         08/02/2023 189 MOTION for Partial Summary Judgment . Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 08/02/2023)
         08/02/2023 190 MEMORANDUM OF LAW in Support re: 189 MOTION for Partial Summary Judgment . .
                        Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 08/02/2023)
         08/02/2023 191 RULE 56.1 STATEMENT. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        08/02/2023)
         08/02/2023 192 DECLARATION of Roberta A. Kaplan in Support re: 189 MOTION for Partial Summary Judgment
                        .. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit 1 − New York Magazine Article
                        (Online Version), # 2 Exhibit 2 − Excerpts of Deposition of Donald J. Trump, # 3 Exhibit 3 −
                        Defendant's Responses and Objections to Plaintiff's First Set of Requests for Admission, # 4 Exhibit 4
                        − June 21, 2019 Statement, # 5 Exhibit 5 − June 22, 2019 Statement, # 6 Exhibit 6 − June 24, 2019
                        Statement, # 7 Exhibit 7 − Excerpt of Deposition of E. Jean Carroll, # 8 Exhibit 8 − Photograph of E.
                        Jean Carroll and Donald Trump, # 9 Exhibit 9 − Expert Report of Ashlee Humphreys, # 10 Exhibit 10
                        − October 12, 2022 Statement, # 11 Exhibit 11 − Excerpts of Carroll II Trial Transcript, # 12 Exhibit
                        12 − Carroll II Jury Charge).(Kaplan, Roberta) (Entered: 08/02/2023)
         08/02/2023 193 MOTION FOR ENTRY OF AN ORDER LIMITING THE ISSUES TO BE LITIGATED ON THE
                        GROUNDS OF COLLATERAL ESTOPPEL . Document filed by Donald J. Trump..(Habba, Alina)
                        (Entered: 08/02/2023)
         08/02/2023 194 MEMORANDUM OF LAW in Support re: 193 MOTION FOR ENTRY OF AN ORDER LIMITING
                        THE ISSUES TO BE LITIGATED ON THE GROUNDS OF COLLATERAL ESTOPPEL . .
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 08/02/2023)
         08/02/2023 195 DECLARATION of Alina Habba in Support re: 193 MOTION FOR ENTRY OF AN ORDER
                        LIMITING THE ISSUES TO BE LITIGATED ON THE GROUNDS OF COLLATERAL
                        ESTOPPEL .. Document filed by Donald J. Trump. (Attachments: # 1 Exhibit A − Expert Report of
                        Professor Ashlee Humphreys, PhD, dated January 9, 2023, # 2 Exhibit B − Expert Report of
                        Professor Ashlee Humphreys, PhD, dated October 14, 2022).(Habba, Alina) (Entered: 08/02/2023)
         08/03/2023 196 MEMO ENDORSEMENT on re: (215 in 1:22−cv−10016−LAK, 183 in 1:20−cv−07311−LAK) Letter
                        request that Your Honor apprise us as to whether Kaplan Hecker & Fink, LLP may comply with the
                        People's trial subpoena. ENDORSEMENT: Kaplan Hecker & Fink, LLP may comply with the
                        People's trial subpoena. SO ORDERED., (Signed by Judge Lewis A. Kaplan on 8/3/23) (yv)
                        (Entered: 08/03/2023)
         08/03/2023 197 LETTER addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated 8/3/2023 Document
                        filed by Donald J. Trump..(Madaio, Michael) (Entered: 08/03/2023)
         08/03/2023 198 MEMO ENDORSEMENT on re: 197 Letter requests 21 days to file an opposition to Plaintiff's
                        motion. filed by Donald J. Trump. ENDORSEMENT: To the extent, if any, defendant seeks an
                        extension of time to respond to plaintiff's motion insofar as it seeks a determination with respect to
                        facts established by the Carroll II verdict, the application is denied. To the extent that defendant seeks
                        an extension to respond to plaintiff's motion insofar as it seeks partial summary judgment, the
                        application is granted. Plaintiffs time to file a reply to defendant's submission on that issue is
                        extended by an equal period of time. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 8/3/23)
                        (yv) (Entered: 08/03/2023)
         08/03/2023 199 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated August 3, 2023 re:
                        proposed briefing in connection with Defendant's collateral estoppel motion. Document filed by E.
                        Jean Carroll..(Kaplan, Roberta) (Entered: 08/03/2023)
         08/07/2023 200 MEMORANDUM OPINION GRANTING PLAINTIFF'S MOTION TO DISMISS DEFENDANT'S
                        COUNTERCLAIM AND CERTAIN PURPORTED AFFIRMATIVE DEFENSES re: 174 MOTION
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                           to Dismiss and Motion to Strike. filed by E. Jean Carroll. For the foregoing reasons, Ms. Carroll's
                           motion to dismiss Mr. Trump's counterclaim (Dkt 174) is granted. Her motion to strike Mr. Trump's
                           affirmative defenses (Dkt 174) is granted in part and denied in part as follows: (1)Mr. Trump's first
                           and twelfth affirmative defenses are stricken in their entirety. (2)Mr. Trump's fifth and fifteenth
                           affirmative defenses are stricken except to the extent, if any, that they relate to Mr. Trump's June 24,
                           2019 statement. (3) Mr. Trump's third affirmative defense is stricken to the extent it asserts an
                           absolute presidential immunity defense, and is not stricken in any other respect, if there is any. It is
                           denied in its remaining respects. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 8/7/23) (yv)
                           (Entered: 08/07/2023)
         08/08/2023 201 MEMO ENDORSEMENT on re: 199 Letter proposed briefing in connection with Defendant's
                        collateral estoppel motion filed by E. Jean Carroll. ENDORSEMENT : Denied as moot by Court's
                        decision on plaintiff's motion to dismiss (Dkt 200). SO ORDERED. (Signed by Judge Lewis A.
                        Kaplan on 8/8/23) (yv) (Entered: 08/08/2023)
         08/10/2023 202 MEMORANDUM OF LAW in Opposition re: 185 MOTION to Stay Pending Appeal. . Document
                        filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 08/10/2023)
         08/10/2023 203 NOTICE OF INTERLOCUTORY APPEAL from 200 Memorandum & Opinion,,,,. Document filed
                        by Donald J. Trump. Filing fee $ 505.00, receipt number ANYSDC−28132521. Form C and Form D
                        are due within 14 days to the Court of Appeals, Second Circuit. (Attachments: # 1 Exhibit).(Madaio,
                        Michael) (Entered: 08/10/2023)
         08/10/2023        Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re:
                           203 Notice of Interlocutory Appeal.(km) (Entered: 08/10/2023)
         08/10/2023        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files
                           for 203 Notice of Interlocutory Appeal, filed by Donald J. Trump were transmitted to the U.S. Court
                           of Appeals.(km) (Entered: 08/10/2023)
         08/16/2023 204 MEMORANDUM OF LAW in Opposition re: 193 MOTION FOR ENTRY OF AN ORDER
                        LIMITING THE ISSUES TO BE LITIGATED ON THE GROUNDS OF COLLATERAL
                        ESTOPPEL . . Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 08/16/2023)
         08/16/2023 205 DECLARATION of Roberta A. Kaplan in Opposition re: 193 MOTION FOR ENTRY OF AN
                        ORDER LIMITING THE ISSUES TO BE LITIGATED ON THE GROUNDS OF COLLATERAL
                        ESTOPPEL .. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit 1 − Excerpts of Carroll II
                        Trial Transcript).(Kaplan, Roberta) (Entered: 08/16/2023)
         08/16/2023 206 MEMORANDUM OF LAW in Opposition re: 189 MOTION for Partial Summary Judgment . With
                        Respect to Facts Established by the Verdict in Carroll II. Document filed by Donald J.
                        Trump..(Habba, Alina) (Entered: 08/16/2023)
         08/17/2023 207 REPLY MEMORANDUM OF LAW in Support re: 185 MOTION to Stay Pending Appeal. .
                        Document filed by Donald J. Trump..(Madaio, Michael) (Entered: 08/17/2023)
         08/18/2023 208 MEMORANDUM OPINION DENYING DEFENDANT'S MOTION TO STAY re: 185 MOTION to
                        Stay Pending Appeal, filed by Donald J. Trump. For the foregoing reasons, Mr. Trump's motion for a
                        stay pending appeal (Dkt 185) is denied. This Court certifies that the appeal itself is frivolous.
                        (Signed by Judge Lewis A. Kaplan on 8/18/2023) (tro) (Entered: 08/18/2023)
         08/23/2023 209 REPLY MEMORANDUM OF LAW in Support re: 193 MOTION FOR ENTRY OF AN ORDER
                        LIMITING THE ISSUES TO BE LITIGATED ON THE GROUNDS OF COLLATERAL
                        ESTOPPEL . . Document filed by Donald J. Trump..(Habba, Alina) (Entered: 08/23/2023)
         08/23/2023 210 REPLY MEMORANDUM OF LAW in Support re: 189 MOTION for Partial Summary Judgment . .
                        Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 08/23/2023)
         08/23/2023 211 MEMORANDUM OF LAW in Opposition re: 189 MOTION for Partial Summary Judgment . .
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 08/23/2023)
         08/23/2023 212 RESPONSE in Opposition to Motion re: 189 MOTION for Partial Summary Judgment . Response to
                        Local Rule 56.1 Statement. Document filed by Donald J. Trump..(Habba, Alina) (Entered:
                        08/23/2023)
         08/30/2023 213 REPLY MEMORANDUM OF LAW in Support re: 189 MOTION for Partial Summary Judgment . .
                        Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 08/30/2023)
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         09/06/2023 214 MEMORANDUM OPINION re: 193 MOTION FOR ENTRY OF AN ORDER LIMITING THE
                        ISSUES TO BE LITIGATED ON THE GROUNDS OF COLLATERAL ESTOPPEL . filed by
                        Donald J. Trump, 189 MOTION for Partial Summary Judgment . filed by E. Jean Carroll. For the
                        foregoing reasons, Ms. Carroll's motion for partial summary judgment (Dkt 189) is granted except
                        with respect to Mr. Trump's June 24, 2019 statement. Mr. Trump's motion with respect to the issue
                        preclusive effect of the Carroll II verdict in this action (Dkt 193) is denied. SO ORDERED. (Signed
                        by Judge Lewis A. Kaplan on 9/6/2023) (tg) (Entered: 09/06/2023)
         09/13/2023 215 ORDER of USCA (Certified Copy) as to 203 Notice of Interlocutory Appeal, filed by Donald J.
                        Trump USCA Case Number 23−1045; 23−1146. Upon due consideration of these factors, the parties'
                        submissions, and our own careful and independent review of the record, it is hereby ORDERED that
                        Appellant's motions for a stay pending appeal are DENIED as further set forth. Catherine O'Hagan
                        Wolfe, Clerk USCA for the Second Circuit. Certified: 9/13/2023. (tp) (Entered: 09/13/2023)
         09/13/2023 216 ORDER of USCA (Certified Copy) as to 179 Notice of Interlocutory Appeal, filed by Donald J.
                        Trump USCA Case Number 23−1045; 23−1146. Upon due consideration of these factors, the parties'
                        submissions, and our own careful and independent review of the record, it is hereby ORDERED that
                        Appellant's motions for a stay pending appeal are DENIED as further set forth. Catherine O'Hagan
                        Wolfe, Clerk USCA for the Second Circuit. Certified: 9/13/2023. (tp) (Entered: 09/13/2023)
         10/05/2023 217 MEMORANDUM AND ORDER ON PLAINTIFF'S MOTION IN LIMINE granting in part and
                        denying in part 133 Motion in Limine. Plaintiff's motion in limine (Dkt 133) insofar as it seeks to
                        exclude Mr. Fisher's testimony is granted. It is denied as moot in all other respects. SO ORDERED.
                        (Signed by Judge Lewis A. Kaplan on 10/5/23) (yv) (Entered: 10/05/2023)
         10/10/2023 218 ORDER In recognition of the January 15, 2024 federal holiday, the trial of this case will commence at
                        9:30 A.M. on January 16, 2024.( Jury Trial set for 1/16/2024 at 09:30 AM before Judge Lewis A.
                        Kaplan.) (Signed by Judge Lewis A. Kaplan on 10/9/2023) (Entered: 10/10/2023)
         10/11/2023 219 ORDER, The Court hereby establishes the following procedure. 1.On or before October 19, 2023,
                        each party shall file a memorandum of law setting forth its position with respect to whether Mr.
                        Trump defamed Ms. Carroll in his June 24, 2019 statement and the bases for its claim. Any response
                        to any such memorandum shall be filed no later than October 26, 2023. Any reply shall be filed no
                        later than November 2, 2023. 2.Any party objecting to the use of an anonymous jury in the trial of
                        this case shall file any objections no later than October 13, 2023. Any response to any such objection
                        shall be filed no later than October 18, 2023. 3.Any updated joint pretrial order shall be filed no later
                        than November 10, 2023. 4.The parties shall file their proposed special verdict forms and jury
                        instructions no later than November 15, 2023. SO ORDERED. ( Pretrial Order due by 11/10/2023.)
                        (Signed by Judge Lewis A. Kaplan on 10/11/23) (yv) (Entered: 10/11/2023)
         10/17/2023 220 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated October 17, 2023 re:
                        Response to Court's October 11, 2023 Order. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 10/17/2023)
         11/02/2023 221 LETTER MOTION for Discovery to Substitute a New Rebuttal Expert addressed to Judge Lewis A.
                        Kaplan from Michael T. Madaio dated November 2, 2023. Document filed by Donald J.
                        Trump..(Madaio, Michael) (Entered: 11/02/2023)
         11/03/2023 222 ORDER. In view of Mr. Trump's repeated public statements with respect to the plaintiff and court in
                        this case as well as in other cases against him, and the extensive media coverage that this case already
                        has received and that is likely to increase once the trial is imminent or underway, the Court finds that
                        there is strong reason to believe the jury requires the protections prescribed below. No less restrictive
                        alternative has been suggested. The presumption of access to juror names is overcome by the risks
                        identified herein and in the Court's previous decision. Accordingly, (1) The names, addresses, and
                        places of employment of prospective jurors on the voir dire panel, as well as jurors who ultimately are
                        selected for the petit jury, shall not be revealed, (2) petit jurors shall be kept together during recesses
                        and the United States Marshal Service ("USMS") shall take the petit jurors to, or provide them with,
                        lunch as a group throughout the pendency of the trial, and (3) at the beginning and end of each trial
                        day, the petit jurors shall be transported together or in groups from one or more undisclosed location
                        or locations at which the jurors can assemble or from which they may return to their respective
                        residences. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 11/3/23) (yv) (Entered:
                        11/03/2023)
         11/06/2023 223 LETTER RESPONSE in Opposition to Motion addressed to Judge Lewis A. Kaplan from Shawn
                        Crowley dated November 6, 2023 re: 221 LETTER MOTION for Discovery to Substitute a New
                        Rebuttal Expert addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated November 2,
                        2023. . Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A − Email
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                           Correspondence).(Crowley, Shawn) (Entered: 11/06/2023)
         11/10/2023 224 LETTER RESPONSE in Support of Motion addressed to Judge Lewis A. Kaplan from Michael T.
                        Madaio dated November 10, 2023 re: 221 LETTER MOTION for Discovery to Substitute a New
                        Rebuttal Expert addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated November 2,
                        2023. . Document filed by Donald J. Trump..(Madaio, Michael) (Entered: 11/10/2023)
         11/10/2023 225 PROPOSED PRE−TRIAL ORDER. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        11/10/2023)
         11/14/2023 226 ORDER. On or before November 22, 2023, the parties shall submit a joint proposed preliminary
                        instruction. The joint proposed preliminary instruction shall set forth: (a)an agreed statement as to the
                        facts determined by virtue of the collateral estoppel effect of Carroll II in this case, (b)any facts to
                        which the parties stipulate with respect to the scope of the issues to be tried in this case, and (c)any
                        other facts to which the parties stipulate that, in their view, should be conveyed to the jury at the
                        outset. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 11/14/23) (yv) (Entered: 11/14/2023)
         11/15/2023 227 MEMO ENDORSEMENT on re: 225 Proposed Pre−Trial Order filed by E. Jean Carroll.
                        ENDORSEMENT: IT IS SO ORDERED this 15th day of November, 2023. (Signed by Judge Lewis
                        A. Kaplan on 11/15/2023) (ate) (Entered: 11/15/2023)
         11/15/2023 228 PROPOSED JURY INSTRUCTIONS. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 11/15/2023)
         11/15/2023 229 NOTICE of Proposed Verdict Form. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        11/15/2023)
         11/15/2023 230 PROPOSED JURY INSTRUCTIONS. Document filed by Donald J. Trump..(Madaio, Michael)
                        (Entered: 11/15/2023)
         11/15/2023 231 NOTICE of Proposed Jury Verdict Form. Document filed by Donald J. Trump..(Madaio, Michael)
                        (Entered: 11/15/2023)
         11/16/2023 232 MEMORANDUM OPINION re: 221 LETTER MOTION for Discovery to Substitute a New Rebuttal
                        Expert addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated November 2, 2023, filed
                        by Donald J. Trump. For the foregoing reasons, Mr. Trump's application to submit a new rebuttal
                        expert (Dkt 221) is denied, subject to the caveat stated in the penultimate paragraph. (Signed by Judge
                        Lewis A. Kaplan on 11/16/2023) (tro) (Entered: 11/16/2023)
         11/20/2023 233 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated November 20, 2023 re:
                        Ruling on Evidentiary Issues for Upcoming Trial. Document filed by E. Jean Carroll. (Attachments: #
                        1 Exhibit A − Correspondence between Counsel, # 2 Exhibit B − Plaintiff's Interrogatory Responses,
                        # 3 Exhibit C − Excerpts of People v. Trump Trial Transcript, # 4 Exhibit D − CNN Townhall
                        Statement (PX−100)).(Kaplan, Roberta) (Entered: 11/20/2023)
         11/22/2023 234 PROPOSED JURY INSTRUCTIONS. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 11/22/2023)
         11/29/2023 235 LETTER addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated November 29, 2023
                        Document filed by Donald J. Trump. (Attachments: # 1 Exhibit A − Correspondence between
                        Counsel).(Madaio, Michael) (Entered: 11/29/2023)
         12/13/2023 236 TRUE COPY ORDER of USCA as to 179 Notice of Interlocutory Appeal, filed by Donald J. Trump
                        USCA Case Number 23−1045−cv (L) & 23−1146−cv (Con). USCA Case Number 23−1045−cv (L)
                        & 23−1146−cv (Con). Accordingly, we AFFIRM the July 5, 2023 order of the United States District
                        Court for the Southern District of New York (Lewis A. Kaplan, Judge) denying Defendant's motion
                        for summary judgment insofar as it rejected Defendant's presidential immunity defense and denied his
                        request for leave to amend his answer to add presidential immunity as a defense. We likewise
                        AFFIRM the District Court's August 7, 2023 order insofar as it struck Defendant's presidential
                        immunity defense from his answer to Plaintiff's amended complaint. We DISMISS for lack of
                        appellate jurisdiction the appeal of the District Court's July 5, 2023 order insofar as it determined that
                        Defendant's statements about Plaintiff were defamatory per se. Finally, we REMAND the case to the
                        District Court for further proceedings consistent with this opinion. Catherine O'Hagan Wolfe, Clerk
                        USCA for the Second Circuit. Certified: 12/13/2023.(km) (Entered: 12/13/2023)
         12/13/2023        Transmission of USCA Mandate/Order to the District Judge re: 236 USCA Order.(km) (Entered:
                           12/13/2023)
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         12/13/2023 237 LETTER MOTION for Discovery to Preclude Dr. Humphreys' Testimony or, in the alternative, to
                        Submit a Supplemental Rebuttal Report addressed to Judge Lewis A. Kaplan from Michael T. Madaio
                        dated December 13, 2023. Document filed by Donald J. Trump. (Attachments: # 1 Exhibit A −
                        Supplemental Expert Report of Professor Ashlee Humphreys, # 2 Exhibit B− Deposition Transcript
                        of Ashlee Humphreys, # 3 Exhibit C − Expert Rebuttal Report of Charles Malkus).(Madaio, Michael)
                        (Entered: 12/13/2023)
         12/15/2023 238 LETTER RESPONSE in Opposition to Motion addressed to Judge Lewis A. Kaplan from Shawn
                        Crowley dated December 15, 2023 re: 237 LETTER MOTION for Discovery to Preclude Dr.
                        Humphreys' Testimony or, in the alternative, to Submit a Supplemental Rebuttal Report addressed to
                        Judge Lewis A. Kaplan from Michael T. Madaio dated December 13, 2023. . Document filed by E.
                        Jean Carroll..(Crowley, Shawn) (Entered: 12/15/2023)
         12/20/2023 239 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated December 20, 2023 re:
                        Deposition Designations and Prior Testimony. Document filed by E. Jean Carroll. (Attachments: # 1
                        Exhibit A − Plaintiff's Designations, # 2 Exhibit B − NYAG Deposition Testimony, # 3 Exhibit C −
                        NYAG Trial Testimony).(Kaplan, Roberta) (Entered: 12/20/2023)
         12/21/2023 240 ORDER. It is hereby ORDERED, as follows: Prior to any reference to a deposition or deposition
                        transcript in the presence of the jury with a witness on the stand, the Court shall be furnished with a
                        complete copy of th transcript of the deposition. In using depositions or other testimony to interrogate
                        a witness, examining counsel shall refrain from asking such superfluous questions as "Was your
                        deposition taken in this case?," "Do you remember testifying that... ", and so on. Examining counsel
                        instead shall indicate the page(s) and line(s) to which counsel wishes to refer, pause as indicated in
                        paragraph 2 to permit any objection to be made and resolved, and − assuming that no objection is
                        made or that an objection is overruled − read or play the testimony referred to following which
                        counsel may put a appropriate question about the testimony− such as "Was that testimony true?" − to
                        the witness. Counsel shall cooperate with each other in advising their opposite numbers as to the
                        order of their witnesses and the expected duration of direct examinations or deposition read backs.
                        Each party shall have one or more witnesses in the courthouse ready to testify immediately after the
                        conclusion of the testimony of the preceding witness. The failure to have a witness on hand to take
                        the stand may result in an order that an offending party has rested his or her case. There shall be no
                        reference before the jury or the jury panel to any matters a to which admissible evidence has not
                        previously been received or, in the case of opening statements, as to which the attorney lacks a good
                        faith belief that admissible evidence will be received. SO ORDERED. (Signed by Judge Lewis A.
                        Kaplan on 12/21/23) (yv) (Entered: 12/21/2023)
         12/21/2023 241 ORDER: On or before December 28, 2023, defendant shall file (1) any objections he may have to
                        plaintiffs designations contained in her December 20 letter (Dkt 239), and (2) counter−designations of
                        any deposition or other testimony that he contends plaintiff should be required to introduce on the
                        basis that the counter−designated testimony in fairness should be considered with the part of the
                        deposition or other testimony designated by plaintiff. SO ORDERED. (Signed by Judge Lewis A.
                        Kaplan on 12/21/2023) (vfr) (Entered: 12/21/2023)
         12/21/2023 242 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated December 21, 2023 re:
                        proposed voir dire questions. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A −
                        Excerpt from Freeman v. Giuliani Trial Transcript).(Kaplan, Roberta) (Entered: 12/21/2023)
         12/28/2023 243 Exhibit List Deposition Designations and Objections for Trial. Document filed by Donald J.
                        Trump..(Madaio, Michael) (Entered: 12/28/2023)
         12/29/2023 244 ORDER denying 237 Letter Motion for Discovery. (Signed by Judge Lewis A. Kaplan on
                        12/29/2023) (Kaplan, Lewis) (Entered: 12/29/2023)
         12/31/2023 245 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated December 31, 2023 re:
                        Objections to Counter Designations. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        12/31/2023)
         01/03/2024 246 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 3, 2024 re:
                        Evidentiary Issues for Upcoming Trial. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 01/03/2024)
         01/04/2024 247 ORDER. The Court is in receipt of a letter motion by plaintiff (Dkt 246) requesting a ruling on the
                        various pending evidentiary issues and an order precluding evidence and argument regarding the
                        Carroll II jury's finding of insufficient evidence that Mr. Trump raped Ms. Carroll under the technical
                        definition of rape in New York Penal Law. Defendant shall file any response to plaintiff's letter on or
                        before January 5, 2024, including whether he plans to offer evidence or argument at trial of the
                        Carroll II jury's finding on rape, what specific evidence or argument he intends to introduce, and how
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                           and for what purpose he intends to offer it. SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                           1/4/24) (yv) (Entered: 01/04/2024)
         01/04/2024 248 ORDER RULING ON OBJECTIONS TO DEPOSITION DESIGNATIONS. The Court's rulings on
                        the objections noted by the parties to the designations and counter−designations of certain portions of
                        Mr. Trump's deposition are set forth in the attached schedule. The notation "deferred" means that the
                        Court reserves decision on the objection until it issues its ruling on the parties' outstanding
                        evidentiary motions. The Court overrules Mr. Trump's broad objection under Federal Rule of Civil
                        Procedure 32 to the use of any portion of his deposition transcript. His contention that its use would
                        be improper because he is listed as a possible witness is utterly frivolous. Rule 32(a)(3) provides that
                        an "adverse party may use for any purpose the deposition of a party," whether they are available to
                        testify live or not. Thus, Ms. Carroll will be permitted to play her otherwise admissible deposition
                        designations at trial even were Mr. Trump to testify. With respect to Ms. Carroll's objections to Mr.
                        Trump's counter−designations, the Court again has sustained those objections that it has determined
                        are inappropriate under Rule 32(a)(6), which allows a party to cross−designate and "introduce [ only]
                        other parts [ of a deposition] that in fairness should be considered with the part introduced." Mr.
                        Trump attempts to include as counter−designations testimony that already was rejected on this basis
                        in Carroll II, and the Court incorporates its earlier order in that case to the extent relevant. SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 1/4/24) (yv) (Entered: 01/04/2024)
         01/04/2024 249 ORDER DENYING DEFENDANT'S MOTION TO PRECLUDE PLAINTIFF'S EXPERT OR,
                        ALTERNATIVELY, PERMIT DEFENDANT'S UNTIMELY REBUTTAL EXPERT (corrected):
                        Defendant's motion to preclude the testimony of Professor Humphreys or, alternatively, to be
                        permitted to disclose and call a new expert witness, Mr. Malkus, is denied. To the extent relevant, the
                        Court incorporates its findings and analysis from its most recent opinion denying defendant's motion
                        to disclose a new expert. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 1/04/2024) (ama)
                        (Entered: 01/04/2024)
         01/05/2024 250 LETTER addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated January 5, 2024
                        Document filed by Donald J. Trump..(Madaio, Michael) (Entered: 01/05/2024)
         01/06/2024 251 ORDER re: 246 Letter filed by E. Jean Carroll (Signed by Judge Lewis A. Kaplan on 1/6/2024)
                        (Kaplan, Lewis) (Entered: 01/06/2024)
         01/09/2024 252 MEMORANDUM AND ORDER ON PLAINTIFF'S IN LIMINE MOTION. Plaintiff's letter motion
                        (Dkt 233), which in substance seeks in limine rulings on a variety of evidentiary issues, is granted to
                        the extent that: 1. Defendant and his counsel are precluded, in the presence of the jury, from offering
                        any evidence, argument, or comments: a. Concerning plaintiff's choice of counsel or her counsel's
                        activities outside the litigation between plaintiff and defendant; b.Concerning litigation funding;
                        c.Concerning DNA; d.Concerning Ms. Carroll's past romantic relationships, sexual disposition, and
                        prior sexual experiences; Suggesting or implying that Mr. Trump did not sexually abuse Carroll; that
                        he did not make his June 21 and 22, 2019 statements concerning Ms. Carroll with actual malice in the
                        constitutional sense of that term; that Ms. Carroll fabricated her account, whether in consequence of a
                        political agenda, financial interests, mental illness, or otherwise; or offering testimony or advancing
                        any argument inconsistent with the Court' s collateral estoppel decision determining that Mr. Trump,
                        with actual malice, lied about sexually assaulting Ms. Carroll; and 2. The Access Hollywood video
                        will be received in evidence. The motion is denied in all other respects without prejudice to renewal
                        during trial with regard to Mss. Stoynoff and Leeds and the related campaign excerpts. SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 1/9/24) (yv) (Entered: 01/09/2024)
         01/11/2024 253 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Peter W. Gabra to Appear
                        Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−28798075. Motion and supporting
                        papers to be reviewed by Clerk's Office staff. Document filed by Donald J. Trump. (Attachments:
                        # 1 Affidavit Affidavit In Support of Motion, # 2 Exhibit Certificate of Good Standing, # 3 Proposed
                        Order Proposed Order).(Habba, Alina) Modified on 1/11/2024 (rju). (Entered: 01/11/2024)
         01/11/2024        >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE. Notice to
                           RE−FILE Document No. 253 MOTION for Peter W. Gabra to Appear Pro Hac Vice . Filing fee
                           $ 200.00, receipt number ANYSDC−28798075. Motion and supporting papers to be reviewed by
                           Clerk's Office staff... The filing is deficient for the following reason(s): missing Certificate of
                           Good Standing from State or Supreme Court of New Jersey;. Re−file the motion as a Motion to
                           Appear Pro Hac Vice − attach the correct signed PDF − select the correct named filer/filers −
                           attach valid Certificates of Good Standing issued within the past 30 days − attach Proposed
                           Order.. (rju) (Entered: 01/11/2024)
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         01/11/2024 254 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 11, 2024 re:
                        Carol Martin Testimony and Certain Defense Exhibits. Document filed by E. Jean Carroll.
                        (Attachments: # 1 Exhibit A − Carol Martin Deposition Excerpt, # 2 Exhibit B − Defendant's
                        Exhibits).(Kaplan, Roberta) (Entered: 01/11/2024)
         01/12/2024 255 ORDER. In view of the imminence of jury selection and the start of the trial, defendant shall file any
                        response to plaintiff's letter of January 11, 2024 no later than 2 p.m. on January 13, 2024. SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 1/12/24) (yv) (Entered: 01/12/2024)
         01/12/2024 256 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 12, 2024 re:
                        Defendant's Possible Trial Testimony. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit
                        A − Correspondence between Justice Engoron and Defense Counsel, # 2 Exhibit B − Excerpt of
                        Closing Arguments in New York v. Trump, # 3 Exhibit C − Proposed Curative Instruction re
                        Collateral Estoppel, # 4 Exhibit D − Proposed Curative Instruction re Prior Jury
                        Determination).(Kaplan, Roberta) (Entered: 01/12/2024)
         01/12/2024 257 ORDER. In view of the imminence of jury selection and the st art of the trial, defendant shall file any
                        response to plaintiff's letter of January 12, 2024 no later than 9 a.m. on January 14, 2024. SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 1/12/24) (yv) (Entered: 01/12/2024)
         01/12/2024 258 ORDER (Signed by Judge Lewis A. Kaplan on 1/12/2024) (Kaplan, Lewis) (Entered: 01/12/2024)
         01/12/2024 259 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 12, 2024 re:
                        Opposition to Defendant's Adjournment Motion. Document filed by E. Jean Carroll..(Kaplan,
                        Roberta) (Entered: 01/12/2024)
         01/13/2024 260 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 12, 2014 re: Request
                        for Adjournment of Trial. Document filed by Donald J. Trump..(Habba, Alina) (Entered: 01/13/2024)
         01/13/2024 261 LETTER addressed to Judge Lewis A. Kaplan from Michael T. Madaio dated January 13, 2024 re:
                        Response to Plaintiff's Letter dated January 11, 2024. Document filed by Donald J. Trump.
                        (Attachments: # 1 Exhibit A − Relevant Portions of Carroll II Trial Transcript, # 2 Exhibit B − Carol
                        Martin Text Message, # 3 Exhibit C − Carol Martin October 18 2022 Deposition, # 4 Exhibit D −
                        Defense Exhibit DX−15, # 5 Exhibit E − Defense Exhibit DX−18, # 6 Exhibit F − Defense Exhibit
                        DX−20, # 7 Exhibit G − Email Correspondence Dated January 11, 2024, # 8 Exhibit H − Dr.
                        Humphreys October 14, 2022 Report, # 9 Exhibit I − Dr. Humphreys Supplemental Report dated
                        November 13, 2023).(Madaio, Michael) (Entered: 01/13/2024)
         01/13/2024 262 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 13, 2024 re:
                        Recently Scheduled Campaign Event. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                        01/13/2024)
         01/13/2024 263 ORDER (Signed by Judge Lewis A. Kaplan on 1/13/2024) (Kaplan, Lewis) (Entered: 01/13/2024)
         01/13/2024 264 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 13, 2024 re:
                        Reply in Support of Motion to Preclude Carol Martin Testimony and Certain Defense Exhibits.
                        Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered: 01/13/2024)
         01/14/2024 265 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 14, 2024 re:
                        Response to Plaintiff's Letter Dated January 12, 2024. Document filed by Donald J. Trump..(Habba,
                        Alina) (Entered: 01/14/2024)
         01/14/2024 266 MEMORANDUM AND OPINION. (Signed by Judge Lewis A. Kaplan on 1/14/2024) (Kaplan,
                        Lewis) (Entered: 01/14/2024)
         01/14/2024 267 MEMORANDUM AND OPINION. (Signed by Judge Lewis A. Kaplan on 1/14/2024) (Kaplan,
                        Lewis) (Entered: 01/14/2024)
         01/16/2024 268 TRUE COPY ORDER of USCA as to 179 Notice of Interlocutory Appeal, filed by Donald J. Trump
                        USCA Case Number 23−1045−cv (L), 23−1146−cv (Con). USCA Case Number 23−1045−cv (L),
                        23−1146−cv (Con). Accordingly, we AFFIRM the July 5, 2023 order of the District Court denying
                        Defendant's motion for summary judgment insofar as it rejected Defendant's presidential immunity
                        defense and denied his request for leave to amend his answer to add presidential immunity as a
                        defense. We likewise AFFIRM the District Courts August 7, 2023 order insofar as it struck
                        Defendant's presidential immunity defense from his answer to Plaintiff's amended complaint. We
                        DISMISS for lack of appellate jurisdiction the appeal of the District Court's July 5, 2023 order insofar
                        as it determined that Defendant's statements about Plaintiff were defamatory per se. Finally, we
                        REMAND the case to the District Court for further proceedings consistent with this opinion.
                        Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As Order: 1/16/2024.(km)
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                           (Entered: 01/16/2024)
         01/16/2024        Transmission of USCA Mandate/Order to the District Judge re: 268 USCA Order.(km) (Entered:
                           01/16/2024)
         01/16/2024 269 MANDATE of USCA (Certified Copy) as to 179 Notice of Interlocutory Appeal, filed by Donald J.
                        Trump USCA Case Number 23−1045−cv (L), 23−1146−cv (Con). IT IS HEREBY ORDERED,
                        ADJUDGED and DECREED that the July 5, 2023 order of the district court is AFFIRMED insofar as
                        it rejected Defendant's presidential immunity defense and denied his request for leave to amend his
                        answer to add presidential immunity as a defense; the district court's August 7, 2023 order is
                        AFFIRMED insofar as it struck Defendant's presidential immunity defense from his answer to
                        Plaintiff's amended complaint; the appeal of the district court's July 5, 2023 order is DISMISSED
                        insofar as it determined that Defendant's statements about Plaintiff were defamatory per se; and the
                        case is REMANDED to the district court for further proceedings consistent with this Court's opinion.
                        For the Court: Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate:
                        1/16/2024.(km) (Entered: 01/16/2024)
         01/16/2024        Transmission of USCA Mandate/Order to the District Judge re: 269 USCA Mandate.(km) (Entered:
                           01/16/2024)
         01/16/2024        Minute Entry for proceedings held before Judge Lewis A. Kaplan: Jury Trial begun on 1/16/2024.
                           Jury of 9 selected and sworn. Opening arguments heard. Trial continued to 1/17/2024 at 9:30 AM.
                           (Court Reporter Alena Lynch and Lisa Franko) (Mohan, Andrew) Modified on 1/16/2024 (Mohan,
                           Andrew). (Entered: 01/16/2024)
         01/17/2024        Minute Entry for proceedings held before Judge Lewis A. Kaplan: Jury Trial held on 1/17/2024.
                           Plaintiff's case begun. Defendant moved for a mistrial, which was denied by the Court. Trial
                           continued to 1/18/2024 @ 9:30 AM. (Court Reporter Elena Lynch and Lisa Franko) (Mohan,
                           Andrew) (Entered: 01/17/2024)
         01/18/2024 270 ORDER By Order dated November 3, 2023 (DI 222) the Court ordered that the petit jury empaneled
                        in the trial of this case be kept anonymous. In furtherance of that order, the Clerk of Court is directed
                        to provide lunches and transportation to−and−from the courthouse for the duration of the trial.
                        (Signed by Judge Lewis A. Kaplan on 1/4/2024) (Mohan, Andrew) (Entered: 01/18/2024)
         01/18/2024        Minute Entry for proceedings held before Judge Lewis A. Kaplan: Jury Trial held on 1/18/2024. Trial
                           continued to Monday, 1/22/2024 at 9:30 AM. (Court Reporter Alena Lynch and Lisa Franko)
                           (Mohan, Andrew) (Entered: 01/18/2024)
         01/19/2024 271 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 19, 2024 re: Letter
                        Requesting a Declaration of a Mistrial and other Alternative Relief. Document filed by Donald J.
                        Trump..(Habba, Alina) (Entered: 01/19/2024)
         01/19/2024 272 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 19, 2024 re:
                        Mitigation of Damages. Document filed by Donald J. Trump..(Habba, Alina) (Entered: 01/19/2024)
         01/19/2024 273 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 19, 2024 re:
                        Duty to Mitigate. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A − Curative
                        Instructions).(Kaplan, Roberta) (Entered: 01/19/2024)
         01/20/2024 274 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 20, 2024 re:
                        Exhibits and Defendant's Testimony. Document filed by E. Jean Carroll. (Attachments: # 1 Exhibit A
                        − PX−164−T, # 2 Exhibit B − Jan. 17 Press Conference Transcript, # 3 Exhibit C − PX−98, # 4
                        Exhibit D − PX−165 and PX−166).(Kaplan, Roberta) (Entered: 01/20/2024)
         01/21/2024 275 LETTER addressed to Judge Lewis A. Kaplan from Joshua A. Matz dated January 21, 2024 re:
                        Reputational Harm and Assumption of Risk. Document filed by E. Jean Carroll. (Attachments: # 1
                        Exhibit Proposed Curative Instruction).(Matz, Joshua) (Entered: 01/21/2024)
         01/21/2024 276 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 21, 2024 re: Net
                        Effect of Reputational Harm. Document filed by Donald J. Trump..(Habba, Alina) (Entered:
                        01/21/2024)
         01/21/2024 277 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 21, 2024 re:
                        Opposition to Defendant's Motion for a Mistrial. Document filed by E. Jean Carroll. (Attachments: #
                        1 Exhibit A − Carroll II Deposition Excerpt, # 2 Exhibit B − Carroll I Deposition Excerpt, # 3 Exhibit
                        C − PX−126, # 4 Exhibit D − PX−128, # 5 Exhibit E − Letter From R. Kaplan Dated August 11,
                        2022).(Kaplan, Roberta) (Entered: 01/21/2024)
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         01/22/2024        Minute Entry for proceedings held before Judge Lewis A. Kaplan: Jury Trial held on 1/22/2024. Trial
                           day ended early and trial continued to Wednesday, 1/24/2024 @ 9:30 AM. Trial will not be held on
                           Tuesday, 1/23/2024. (Court Reporter Pamela Utter and Alena Lynch) (Mohan, Andrew) (Entered:
                           01/22/2024)
         01/23/2024        DOCKET ANNOTATION: Trial is continued to Thursday, 1/25/2024 @ 9:30 AM. Trial will not be
                           held on Wednesday, 1/24/2024. (Mohan, Andrew) (Entered: 01/23/2024)
         01/23/2024 278 AMENDED ORDER: By Order dated November 3, 2023 (DI 222) the Court ordered that the petit
                        jury empaneled in the trial of this case be kept anonymous. In furtherance of that order, the Clerk of
                        Court is directed to provide meals and transportation to−and−from the courthouse for the duration of
                        the trial. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 1/23/2024) (vfr) Transmission to
                        Office of the Clerk of Court for processing. (Entered: 01/23/2024)
         01/25/2024        Minute Entry for proceedings held before Judge Lewis A. Kaplan: Jury Trial held on 1/25/2024.
                           Plaintiff rested. Defendant moved under Rule 50 for judgment as a matter of law, which was denied
                           by the Court. Defendant's case begun and rested. Charge conference held. Closings arguments
                           scheduled to begin on 1/26/2024 @ 9:30 AM. (Court Reporter Pamela Utter and Alena Lynch)
                           (Mohan, Andrew) (Entered: 01/25/2024)
         01/25/2024 279 LETTER addressed to Judge Lewis A. Kaplan from Joshua A. Matz dated January 25, 2024 re:
                        Verdict Form. Document filed by E. Jean Carroll..(Matz, Joshua) (Entered: 01/25/2024)
         01/26/2024 280 Minute Entry for proceedings held before Judge Lewis A. Kaplan: Jury Trial held and completed on
                        1/26/2024. Closing arguments heard. Jury charged. Deliberations begun and concluded and a verdict
                        returned in favor of the plaintiff (see main document attached to this entry for the PDF of the Jury
                        Verdict). (Attachments: # 1 Exhibit Court Exhibit A Circulation Draft Verdict Form, # 2 Exhibit
                        Court Exhibit B Circulation Draft Jury Instructions, # 3 Exhibit Court Exhibit C, # 4 Exhibit Court
                        Exhibit D Jury Instructions) (Mohan, Andrew) (Entered: 01/26/2024)
         01/29/2024 281 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 29, 2024 Document
                        filed by Donald J. Trump. (Attachments: # 1 Exhibit A−NY Post Article).(Habba, Alina) (Entered:
                        01/29/2024)
         01/30/2024 282 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated January 30, 2024 re:
                        response to Defendant's January 29, 2024 letter (ECF 281). Document filed by E. Jean
                        Carroll..(Kaplan, Roberta) (Entered: 01/30/2024)
         01/30/2024 283 LETTER addressed to Judge Lewis A. Kaplan from Alina Habba dated January 30, 2024 Document
                        filed by Donald J. Trump..(Habba, Alina) (Entered: 01/30/2024)
         02/07/2024 284 MEMORANDUM OPINION ON DEFENDANT'S MOTION FOR A MISTRIAL OR OTHER
                        RELIEF: Mr. Trump's oral motion and his letter motion (Dkt 271) were denied as lacking any merit.
                        SO ORDERED. (Signed by Judge Lewis A. Kaplan on 2/7/2024) (mml) (Entered: 02/07/2024)
         02/08/2024 285 JUDGMENT. It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury Trial before
                        the Honorable Lewis A. Kaplan, United States District Judge, Plaintiff E. Jean Carroll has judgment
                        for compensatory damages ( other than for the reputation repair program) in the amount of
                        $7,300,000.00; Plaintiff E. Jean Carroll has judgment for compensatory damages (for the reputation
                        repair program only) in the amount of $11,000,000.00; and Plaintiff E. Jean Carroll has judgment for
                        punitive damages in the amount of $65,000,000.00, each as against the defendant Donald J. Trump
                        for an aggregate sum of $83,300,000.00. So Ordered. (Signed by Judge Lewis A. Kaplan on 2/8/24)
                        (yv) (Entered: 02/08/2024)
         02/23/2024 286 MOTION to Stay Execution of the Judgment Pending Disposition of the Post−Trial Motions.
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 02/23/2024)
         02/23/2024 287 MEMORANDUM OF LAW in Support re: 286 MOTION to Stay Execution of the Judgment Pending
                        Disposition of the Post−Trial Motions. . Document filed by Donald J. Trump..(Habba, Alina)
                        (Entered: 02/23/2024)
         02/24/2024 289 ORDER with respect to 286 Letter Motion to Stay re: 286 MOTION to Stay Execution of the
                        Judgment Pending Disposition of the Post−Trial Motions. Twenty−five days after the jury verdict in
                        this case, and only shortly before the expiration of Rule 62's automatic stay of enforcement of the
                        judgment, Mr. Trump has moved for an "administrative stay" of enforcement pending the filing and
                        disposition of any post−trial motions that he may file. He seeks that relief without posting any
                        security. The Court declines to grant any stay, much less an unsecured stay, without first having
                        afforded plaintiff a meaningful opportunity to be heard. Plaintiff shall file any response to defendant's
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                           motion (Dkt 286) no later than 5:00 p.m. on February 29, 2024. Any reply shall be filed no later than
                           5:00 p.m. on March 2, 2024. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 2/24/2024) (tg)
                           (Entered: 02/26/2024)
         02/24/2024        Set/Reset Deadlines: Responses due by 2/29/2024 Replies due by 3/2/2024. (tg) (Entered:
                           02/26/2024)
         02/25/2024 288 ORDER deferring ruling on 286 Letter Motion to Stay re: 286 MOTION to Stay Execution of the
                        Judgment Pending Disposition of the Post−Trial Motions.. (Signed by Judge Lewis A. Kaplan on
                        2/25/2024) (Kaplan, Lewis) (Entered: 02/25/2024)
         02/26/2024 290 TRANSCRIPT of Proceedings re: TRIAL held on 1/16/2024 before Judge Lewis A. Kaplan. Court
                        Reporter/Transcriber: Alena Lynch, (212) 805−0300. Transcript may be viewed at the court public
                        terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                        3/18/2024. Redacted Transcript Deadline set for 3/28/2024. Release of Transcript Restriction set for
                        5/28/2024..(McGuirk, Kelly) (Entered: 02/26/2024)
         02/26/2024 291 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a TRIAL proceeding held on 1/16/2024 has been filed by the court reporter/transcriber in the
                        above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                        Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 02/26/2024)
         02/26/2024 292 TRANSCRIPT of Proceedings re: TRIAL held on 1/17/2024 before Judge Lewis A. Kaplan. Court
                        Reporter/Transcriber: Alena Lynch, (212) 805−0300. Transcript may be viewed at the court public
                        terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                        3/18/2024. Redacted Transcript Deadline set for 3/28/2024. Release of Transcript Restriction set for
                        5/28/2024..(McGuirk, Kelly) (Entered: 02/26/2024)
         02/27/2024 293 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a TRIAL proceeding held on 1/17/2024 has been filed by the court reporter/transcriber in the
                        above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                        Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 02/27/2024)
         02/27/2024 294 TRANSCRIPT of Proceedings re: TRIAL held on 1/18/2024 before Judge Lewis A. Kaplan. Court
                        Reporter/Transcriber: Alena Lynch, (212) 805−0300. Transcript may be viewed at the court public
                        terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                        3/19/2024. Redacted Transcript Deadline set for 3/29/2024. Release of Transcript Restriction set for
                        5/28/2024..(McGuirk, Kelly) (Entered: 02/27/2024)
         02/27/2024 295 MOTION for Dean John Sauer to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                        ANYSDC−29001714. Motion and supporting papers to be reviewed by Clerk's Office staff.
                        Document filed by Donald J. Trump. (Attachments: # 1 Affidavit Rule 1.3 Affidavit, # 2 Proposed
                        Order Proposed Order, # 3 Exhibit MO Bar certificate, # 4 Exhibit DC Bar certificate).(Sauer, Dean)
                        (Entered: 02/27/2024)
         02/27/2024 296 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a TRIAL proceeding held on 1/18/2024 has been filed by the court reporter/transcriber in the
                        above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                        Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 02/27/2024)
         02/27/2024 297 TRANSCRIPT of Proceedings re: TRIAL held on 1/22/2024 before Judge Lewis A. Kaplan. Court
                        Reporter/Transcriber: Alena Lynch, (212) 805−0300. Transcript may be viewed at the court public
                        terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                        3/19/2024. Redacted Transcript Deadline set for 3/29/2024. Release of Transcript Restriction set for
                        5/28/2024..(McGuirk, Kelly) (Entered: 02/27/2024)
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         02/27/2024 298 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a TRIAL proceeding held on 1/22/2024 has been filed by the court reporter/transcriber in the
                        above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                        Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 02/27/2024)
         02/27/2024        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 295
                           MOTION for Dean John Sauer to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                           ANYSDC−29001714. Motion and supporting papers to be reviewed by Clerk's Office staff.. The
                           document has been reviewed and there are no deficiencies. (vba) (Entered: 02/27/2024)
         02/27/2024 299 TRANSCRIPT of Proceedings re: TRIAL held on 1/25/2024 before Judge Lewis A. Kaplan. Court
                        Reporter/Transcriber: Alena Lynch, (212) 805−0300. Transcript may be viewed at the court public
                        terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                        3/19/2024. Redacted Transcript Deadline set for 3/29/2024. Release of Transcript Restriction set for
                        5/28/2024..(McGuirk, Kelly) (Entered: 02/27/2024)
         02/27/2024 300 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a TRIAL proceeding held on 1/25/2024 has been filed by the court reporter/transcriber in the
                        above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                        Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 02/27/2024)
         02/27/2024 301 TRANSCRIPT of Proceedings re: TRIAL held on 1/26/2024 before Judge Lewis A. Kaplan. Court
                        Reporter/Transcriber: Pamela Utter, (212) 805−0300. Transcript may be viewed at the court public
                        terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER. Redaction Request due
                        3/19/2024. Redacted Transcript Deadline set for 3/29/2024. Release of Transcript Restriction set for
                        5/28/2024..(McGuirk, Kelly) (Entered: 02/27/2024)
         02/27/2024 302 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript
                        of a TRIAL proceeding held on 1/26/2024 has been filed by the court reporter/transcriber in the
                        above−captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                        Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                        remotely electronically available to the public without redaction after 90 calendar days....(McGuirk,
                        Kelly) (Entered: 02/27/2024)
         02/29/2024 303 MEMORANDUM OF LAW in Opposition re: 286 MOTION to Stay Execution of the Judgment
                        Pending Disposition of the Post−Trial Motions. . Document filed by E. Jean Carroll..(Kaplan,
                        Roberta) (Entered: 02/29/2024)
         02/29/2024 304 DECLARATION of Roberta A. Kaplan in Opposition re: 286 MOTION to Stay Execution of the
                        Judgment Pending Disposition of the Post−Trial Motions.. Document filed by E. Jean Carroll.
                        (Attachments: # 1 Exhibit 1 − Excerpts of Trial Transcript, # 2 Exhibit 2 − PX−147−V, # 3 Exhibit 3
                        − PX−148, # 4 Exhibit 4 − PX−1, # 5 Exhibit 5 − PX−2, # 6 Exhibit 6 − PX−40, # 7 Exhibit 7 −
                        PX−47, # 8 Exhibit 8 − PX−59, # 9 Exhibit 9 − PX−66, # 10 Exhibit 10 − PX−85, # 11 Exhibit 11 −
                        PX−118, # 12 Exhibit 12 − PX−134, # 13 Exhibit 13 − Excerpt of Carroll II Trial Transcript, # 14
                        Exhibit 14 − PX−96, # 15 Exhibit 15 − PX−97, # 16 Exhibit 16 − PX−98, # 17 Exhibit 17 − PX−99, #
                        18 Exhibit 18 − PX−100, # 19 Exhibit 19 − PX−101, # 20 Exhibit 20 − PX−144, # 21 Exhibit 21 −
                        PX−144−T, # 22 Exhibit 22 − PX−146, # 23 Exhibit 23 − PX−149, # 24 Exhibit 24 − PX−152, # 25
                        Exhibit 25 − PX−160, # 26 Exhibit 26 − PX−164, # 27 Exhibit 27 − PX−164−T, # 28 Exhibit 28 −
                        PX−165, # 29 Exhibit 29 − PX−166).(Kaplan, Roberta) (Entered: 02/29/2024)
         03/01/2024 305 MANDATE of USCA (Certified Copy) as to 203 Notice of Interlocutory Appeal, filed by Donald J.
                        Trump USCA Case Number 23−1045(L), 23−1146(Con). IT IS HEREBY ORDERED, ADJUDGED
                        and DECREED that the July 5, 2023 order of the district court is AFFIRMED insofar as it rejected
                        Defendant's presidential immunity defense and denied his request for leave to amend his answer to
                        add presidential immunity as a defense; the district court's August 7, 2023 order is AFFIRMED
                        insofar as it struck Defendant's presidential immunity defense from his answer to Plaintiff's amended
                        complaint; the appeal of the district court's July 5, 2023 order is DISMISSED insofar as it determined
                        that Defendant's statements about Plaintiff were defamatory per se; and the case is REMANDED to
                        the district court for further proceedings consistent with this Court's opinion. Catherine O'Hagan
                        Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate: 1/16/2024. (Attachments: # 1
                        Supporting Document). (tp) (Entered: 03/01/2024)
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         03/02/2024 306 REPLY MEMORANDUM OF LAW in Support re: 286 MOTION to Stay Execution of the Judgment
                        Pending Disposition of the Post−Trial Motions. . Document filed by Donald J. Trump..(Habba,
                        Alina) (Entered: 03/02/2024)
         03/04/2024 307 ORDER. The Court is aware of defendant's request for a decision on the stay motion no later than
                        today "to allow time for [him] to finalize arrangements for an appropriate bond if necessary." Dkt
                        287, at 21. A decision will be rendered as promptly as is reasonably possible. Without implying what
                        that decision will be or when it will be made, however, it will not come today. SO ORDERED.
                        (Signed by Judge Lewis A. Kaplan on 3/4/24) (yv) (Entered: 03/04/2024)
         03/04/2024 308 LETTER addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan dated March 4, 2024 re:
                        Defendant's reply memorandum (ECF 306). Document filed by E. Jean Carroll..(Kaplan, Roberta)
                        (Entered: 03/04/2024)
         03/05/2024 309 MOTION for Judgment as a Matter of Law . Document filed by Donald J. Trump..(Habba, Alina)
                        (Entered: 03/05/2024)
         03/05/2024 310 MEMORANDUM OF LAW in Support re: 309 MOTION for Judgment as a Matter of Law . .
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 03/05/2024)
         03/05/2024 311 MOTION for New Trial . Document filed by Donald J. Trump..(Habba, Alina) (Entered: 03/05/2024)
         03/05/2024 312 MEMORANDUM OF LAW in Support re: 311 MOTION for New Trial . . Document filed by
                        Donald J. Trump..(Habba, Alina) (Entered: 03/05/2024)
         03/06/2024 313 LETTER MOTION to Stay addressed to Judge Lewis A. Kaplan from Alina Habba dated March 6
                        2024. Document filed by Donald J. Trump..(Habba, Alina) (Entered: 03/06/2024)
         03/07/2024 314 MOTION for William Owen Scharf to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                        ANYSDC−29047929. Motion and supporting papers to be reviewed by Clerk's Office staff.
                        Document filed by Donald J. Trump. (Attachments: # 1 Affidavit Affidavit, # 2 Exhibit Certificate of
                        Admission, # 3 Proposed Order Proposed Order).(Scharf, William) (Entered: 03/07/2024)
         03/07/2024        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 314
                           MOTION for William Owen Scharf to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                           number ANYSDC−29047929. Motion and supporting papers to be reviewed by Clerk's Office
                           staff.. The document has been reviewed and there are no deficiencies. (bc) (Entered: 03/07/2024)
         03/07/2024 315 ORDER denying 313 Letter Motion to Stay re: 313 LETTER MOTION to Stay addressed to Judge
                        Lewis A. Kaplan from Alina Habba dated March 6 2024. Mr. Trump renews his request for a
                        temporary administrative stay of execution of the judgment, this time "until three business days after
                        the Court rules on his [previously filed and as yet still pending] stay motion." Dkt 313 at 2. He argues
                        that preparations to post bond before a ruling could "impose irreparable injury in the form of
                        substantial costs (which may or may not be recoverable)." Id. The questions of whether
                        "administrative stays" are authorized by law and, if so, the circumstances in which they are available
                        and the legal standards by which they are governed are relatively obscure and ill−defined. See Rachel
                        Bayevsky, Administrative Stays: Power and Procedure, 97 NOTRE DAME L. REV. 1941 (2022). For
                        present purposes, however, the Court puts those issues aside and assumes that short−lived
                        administrative stays are available for brief periods in appropriate circumstances, at least one of which
                        must be a clear threat of irreparable injury in the absence of such a stay. Mr. Trump's current situation
                        is a result of his own dilatory actions. He has had since January 26 to organize his finances with the
                        knowledge that he might need to bond this judgment, yet he waited until 25 days after the jury verdict
                        − and only shortly before the expiration of Rule 62's automatic 30−day stay of judgment − to file his
                        prior motion for an unsecured or partially secured stay pending resolution of post−trial motions. The
                        Court ordered expedited briefing and assured the parties that the motion would be decided as
                        promptly as was reasonably appropriate, but due to the delay in its filing, the Court notified that it
                        could not render any decision as quickly as Mr. Trump requested. Dkt 307. That remains true today.
                        Moreover, the expense of ongoing litigation in the absence of a stay does not constitute "irreparable
                        injury" in the relevant sense of that term. Renegotiation Bd. v. Bannercrafl Clothing Co., 415 U.S. 1,
                        24 (1974) ("Mere litigation expense, even substantial and unrecoupable cost, does not constitute
                        irreparable injury."); see Emery Air Freight Corp. v. Local Union 295, 786 F.2d 93, 100 (2d Cir.
                        1986). Nor has Mr. Trump made any showing of what expenses he might incur if required to post a
                        bond or other security, on what terms (if any) he could obtain a conventional bond, or post cash or
                        other assets to secure payment of the judgment, or any other circumstances relevant to the situation.
                        Accordingly, his present application for a temporary administrative stay (Dkt 313) is denied. SO
                        ORDERED. (Signed by Judge Lewis A. Kaplan on 3/7/2024) (va) (Entered: 03/07/2024)
(37 of 37), Page 37 of 37     Case: 24-644, 03/08/2024, DktEntry: 5.2, Page 37 of 37

         03/08/2024 316 NOTICE OF APPEAL from 285 Judgment,,. Document filed by Donald J. Trump. Filing fee $
                        605.00, receipt number ANYSDC−29052228. Form C and Form D are due within 14 days to the
                        Court of Appeals, Second Circuit..(Habba, Alina) (Entered: 03/08/2024)
         03/08/2024       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re:
                          316 Notice of Appeal. (tp) (Entered: 03/08/2024)
         03/08/2024       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files
                          for 316 Notice of Appeal filed by Donald J. Trump were transmitted to the U.S. Court of Appeals.
                          (tp) (Entered: 03/08/2024)
         03/08/2024 317 MOTION to Approve Supersedeas Bond and Stay of Execution of Judgment Pending Appeal .
                        Document filed by Donald J. Trump..(Habba, Alina) (Entered: 03/08/2024)
         03/08/2024 318 DECLARATION of Alina Habba in Support re: 317 MOTION to Approve Supersedeas Bond and
                        Stay of Execution of Judgment Pending Appeal .. Document filed by Donald J. Trump. (Attachments:
                        # 1 Exhibit A − Supersedeas Bond, # 2 Proposed Order Approving Supersedeas Bond).(Habba, Alina)
                        (Entered: 03/08/2024)
